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                                 #:14407
                                       EXHIBIT B
              INTEGRATED SUPPLY NETWORK, LLC’S OBJECTIONS TO
                     AMENDED JOINT TRIAL EXHIBIT LIST


               Defendant Integrated Supply Network, LLC (“ISN” or “Defendant”)
        hereby submits its objections to the following exhibits on the Amended Joint Trial
        Exhibit List:

                                                            ISN’S
          Ex. No.       Description
                                                         Objections

          3             Website printout of Monster
                        Energy job posting on
                        monster.com [ISN0032312-
                        ISN0032314]
          6             Website printout of T-shirt
                        section of MONSTER JAM
                        superstore [ISN010928-
                        ISN010933]
          7             Picture of Odwalla blueberry
                        monster and strawberry c
                        monster Beverages
                        [ISN011282]
          8             Printout of
                        DoverMonsterMile.jpg
                        [ISN000031]
          10            Picture of ROCKSTAR cans
                        [ISN011262]
          12            Picture Mountain Dew Black
                        Label Can [ISN011274]
          13            Picture of KICKSTART Can
                        [ISN011268]
          15            Firefly Brewery Ale
                        [ISN011278]
          18            Webster’s dictionary
                        definition of monster
                        [ISN00120-ISN00125]
          19            Images of MEC beverages
          20            Images of MEC beverages
          21            Images of MEC beverages
          22            Images of MEC beverages
          23            Images of MEC beverages


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                                                     ISN’S
          Ex. No.   Description
                                                   Objections

          24        Images of MEC beverages
          25        Images of MEC beverages
          26        Images of MEC beverages
          28        Images of MEC beverages
          32        Photo of RedBull sponsored
                    motorbike
          33        Photo showing Red Bull and
                    MEC sponsored riders
          34        Rockstar sponsored rider
          35        Photo of Rockstar sponsored
                    rider
          36        MEC race car
          37        M&M race car
          38        Busch Beer race car
          39        Jimmy Johns model race car
          40        Hooters race car
          41        Skittles race car
          42        Miller Lite race car
          43        Aspen Dental race car
          44        FedEx race car
          45        Nationwide Insurance race
                    case
          46        Kroger race car
          47        Target race car
          48        Grave Digger Tee Shirt
                    Monster Jam Superstore
                    [ISN011296-ISN011300]
          49        MEC rider standing next to
                    MONSTER MILE statue
          50        Snap-on Black and Green
                    Product


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                                                       ISN’S
          Ex. No.   Description
                                                     Objections

          51        Snap-on Black and Green
                    Product
          52        Snap-on Black and Green
                    Product
          53        Snap-on Black and Green
                    Product
          54        Snap-on Black and Green
                    Product
          55        Snap-on Black and Green
                    Product
          56        Snap-on Black and Green
                    Product
          57        Snap-on Black and Green
                    Product
          59        Snap-on website screenshot
                    showing
                    MONSTERLITHIUM impact
                    wrench
          60        Printout from
                    www.monsterjamsuperstore.c
                    om website [ISN011346-
                    ISN011348]
          61        Monster Jam “Vital Statistics”
                    [MEC049441]
          62        Printout of Monster Jam
                    website re “Monster Jam
                    World Finals® XVII
                    Competitors Announced”
                    [ISN0011332-ISN0011345]
          64        Printout from MEC website re
                    Kyle Busch [MEC000603-
                    MEC000605]
          66        Compilation of screenshots
                    from store.nascar.com
                    [ISN011036-ISN011060]
          67        Sales Order for Monster
                    Energy Company with
                    Monster Worldwide, Inc.
                    [MEC028155-MEC028159]
          68        Screenshots from
                    www.monster.com re MEC
                    job postings
          69        Photo
                    [ISN011288-ISN011289]


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                                                     ISN’S
          Ex. No.   Description
                                                   Objections

          70        Trademark Registration No.
                    4,721,433 of Monster Energy
                    mark
          71        Photo of Ken Block's toolbox
                    with Monster Claw Logo
                    [MEC023963]
          72        Trademark Registration No.
                    3,740,050 of M Import mark
          73        Monster Energy Extra
                    Strength presentation
                    [MEC031108-MEC031122]
          74        Hansen Natural Corporation
                    2009 Annual Report
                    [MEC010456-MEC010567]
          75        MEC Form 10-K for 2016
                    [ISN0041876-ISN0042000]
          76        MEC’s Complaint in West
                    Coast Chill Matter
          77        Hansen Beverage Company’s
                    Answer to Notice of
                    Opposition in Odwalla, Inc.
                    case [ISN0031721-
                    ISN0031725]
          79        Hansen Beverage Company
                    agreement with The Coca-
                    Cola Company [MEC027721-
                    MEC027724]
          80        Hansen Beverage Company
                    d/b/a MEC agreement with
                    CytoSport [MEC048808-
                    MEC048854]
          81        MEC agreement with
                    Beachbody, LLC
                    [MEC057198-MEC057206]
          83        Monster Energy License
                    Agreement between Hansen
                    Beverage Company and
                    Kawasaki Heavy Industries,
                    Ltd. [MEC039001-
                    MEC039012]
          84        Consent Agreement with
                    Odwalla Inc., The Coca-Cola
                    Company, and Hansen
                    Beverage Company (2010)
                    [MEC027725-MEC027735]


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                                                     ISN’S
          Ex. No.   Description
                                                   Objections

          85        May 3, 2012 Email from Neil
                    Calvesbert re SnapOn Toolbox
                    with Image attachment
                    [MEC028168-MEC028170]
          86        Excel File: Monster Energy
                    Royalties Received/Invoiced
                    by year [MEC039684]
          87        Trademark License
                    Agreement between Hansen
                    Beverage Company and One
                    Industries [MEC017966-
                    MEC017973]
          88        Trademark License Agreement
                    between Hansen Beverage
                    Company and 43 Racing, LLC
                    [MEC031479-MEC031506]
          89        Trademark License
                    Agreement between Hansen
                    Beverage Company and
                    Slednecks, Inc. [MEC031652-
                    MEC031670]
          90        Article from Joel Strickland's Lacks
                    Blog titled "Ken Block teams Foundation;
                    up with Snap-on Tools to       Hearsay
                    create his own range of Tool
                    Boxes"
          91        Trademark License
                    Agreement between Monster
                    Energy Company and
                    American Tire Distributors,
                    Inc. [MEC039366-
                    MEC039395]
          92        Photo of Matco Tools
                    sweatshirt (attachment to
                    Exhibit 190)
          95        Image of MEC’s beverage
                    collection
          96        MEC trademark royalties
          98        Monster Brand U.S. Canada
                    Mexico “Annual Results
                    Trend” [MEC0060417]
          99        2010 premium shipments




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                                                      ISN’S
          Ex. No.   Description
                                                    Objections

          103       Trademark License
                    Agreement between ISN and
                    SE Sales [SE00001432-
                    SE0001436]
          104       Order form for Monster
                    Mobile product [ISN011117]
          105       Order form for
                    Monstersesales.com
                    [MEC048673]
          106       Photo of Monster Branded
                    Lunch Gift Bag filled with
                    snacks [SE00000013]
          107       Physical - Monster Mobile
                    Pistachios 4 oz. snacks
          108       Physical - Monster Mobile
                    Cinnamon Almonds 4 oz.
                    snacks
          109       Physical - Monster Mobile
                    Roasted Salted Cashews 4oz.
                    snacks
          110       Photo of Monster Branded
                    Roasted Cinnamon Almonds
                    snacks [SE00000004]
          111       Physical - Monster Mobile
                    Natural Wood Smoke Sweet
                    BBQ Beef Jerky 3 oz.
          112       Physical - Monster Mobile
                    Natural Wood Smoke Hickory
                    Smoked Beef Jerky 3 oz.
          113       Photo of ISN Logo Standards
                    [SE00000289]
          114       Photo of Monster Branded
                    Socks [SE00000002]
          115       Photo of Monster Branded
                    Magnet
          116       Welcome letter to SE Sales
                    [SE00000305]
          117       Monster Snack Program Ad
                    [SE00000131-SE00000132]
          118       Letter from Jared Lott to ISN
                    Sales Representative
                    promoting Monster Branded
                    Snack and Socks
                    [SE00000067]


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                                                       ISN’S
          Ex. No.   Description
                                                    Objections

          119       Monster Snack Coupon
                    [SE00000128]
          120       July 18, 2014 Email from
                    Darlene Lott to Sarah
                    Shelstrom Attaching Facts and
                    Benefits Sheet and Price Sheet
                    [SE00000280]
          121       Facts and Benefits Sheet and   Lacks
                    Price Sheet (attachment to     Foundation;
                    Exhibit 120) [SE00000281-      Hearsay
                    SEC00000282]
          122       SE Sales, “Sales by Customer
                    Summary” January 1, 2011
                    through April 3, 2017
                    [SE00000371-SE00000373]
          123       Royalty Report to ISN
                    [SE00001398-SE00001427]
          124       Product Spreadsheet
                    [SE00000141]
          125       SE Sales Mountain Branded
                    Products Report
                    [SE00000368-SE00000369]
          126       February 4, 2015 Email from
                    Edward Redstreake to Darlene
                    Lott re Monster Socks Web
                    Banners [SE00000238-
                    SE00000239]
          127       Tech's Edge Plus Jan-Feb-
                    March 2015 Catalog
                    [ISN001477-ISN001608]
          128       Monster Mobile Ad for
                    Monster Snacks
                    [ISN0031671]
          129       Monster Mobile Ad for
                    Snacks [SE00000272]
          130       October 2, 2014 Email from
                    Sarah Shelstrom to Darlene
                    Lott and David Pentecost re
                    Holiday - change to Tech's
                    Edge Plus December Monster
                    Snacks ad [SE00000247]
          131       ISN 2015 Tool Expo brochure
                    [ISN00239999-ISN0024006]




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                                                         ISN’S
          Ex. No.   Description
                                                      Objections

          132       April 3, 2017 Email from         Lacks
                    Scott Pilkenton to Darlene       Foundation;
                    Lott et al. re Monster Snacks    Hearsay
                    [SE00000364-SE00000365]
          133       September 5, 2017 SE Sales
                    Invoice [SE00000660-
                    SE00000661]
          134       May 3, 2017 Email from
                    Darlene Lott to Scott
                    Pilkenton re Invoice from SE
                    Tools [SE00000366]
          135       Monster Mobile ad
                    [SE00000273]
          136       January 20, 2017 Email from
                    Jared Lott to Sarah Shelstrom
                    re Monster Snacks ad with
                    improvements [SE00000224-
                    SE00000225]
          137       Responses to Subpoena            Lacks
                    Document Request                 Foundation;
                    [SE00000190-SE00000191]          Hearsay
          139       June 30, 2015 Email from Don     Lacks
                    Barry to Valerie Adrean et al.   Foundation;
                    re Category Management           Relevance
                    Announcement
                    [ISNE00038158]
          140       December 5, 2016 Email from
                    Don Barry to Steve Kowalke
                    et al. re Board Write Up and
                    attachment Monthly Ops
                    Review Oct.Nov.2016.doc
                    [ISNE00058183-
                    ISNE00058214]
          141       July 19, 2017 Email from         Relevance
                    GearWrench Street Team
                    Report to Steve Kowalke re
                    Street Beat Newsletter, Issue
                    14 [ISNE00066094-
                    ISNE0006610]
          142       Monster Brand Book
                    [ISN010484-ISN010512]




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                                                         ISN’S
          Ex. No.   Description
                                                      Objections

          143       April 21, 2016 Email from
                    Tim Martin to Steve Kowalke
                    et al. re Revised Monster Plan
                    -- Marketing Cost Broken
                    down and Monster 2016
                    Strategic Plan
                    [ISNE00076958-
                    ISNE00076986]
          144       March 28, 2016 Email from        Lacks
                    Tom Pauken to Scott              Foundation;
                    Pilkenton et al. re Monster      Hearsay; Fed.
                    Premiums attaching PTP-173-      R. Evid. 403
                    H Liquid-Filled Pen - Monster
                    Tools [ISNE00054843-
                    ISNE00054844 &
                    ISNE0005484]
          145       Monster Mobile Professional      Lacks
                    Tool Products Jan 2016           Foundation;
                    Presentation 101 (attachment     Hearsay; Fed.
                    to Exhibit 144)                  R. Evid. 403
                    [ISNE00054846-
                    ISNE00054855]
          146       September 2, 2016 Email from     Lacks
                    Tim Martin to Bob Geisinger      Foundation;
                    et al. re Unifying cat/subcat    Hearsay;
                    [ISNE00056111]                   Relevance
          147       Photo of Mechanix Wear
                    Monster Mobile gloves
                    [MEC025314]
          147-A     Physical - Monster Mobile
                    Mechanix Wear gloves (MST-
                    08-010)
          148       January 27, 2017 Email from
                    Randy Steen to Steve
                    Kowalke re Meeting with
                    Steve and Rich 1/26
                    [ISNE00069926]
          149       Photo of Monster Mobile 30oz
                    Stainless Steel Insulated
                    Tumbler and Packaging
                    [MEC025312]
          149-A     Physical - Monster Mobile
                    30oz Stainless Steel Insulated
                    Tumbler (MSTST30)




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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           150       June 21, 2017 Email from
                     Steve Kowalke to David
                     Pentecost et al. re Packaging,
                     Owner's Manuals, etc. for
                     Monster Products
                     [ISNE00063609-
                     ISNE00063610]
           151       June 15, 2017 Email from
                     Steve Kowalke to Linda
                     Knapp et al. re Logos for New
                     Tool Boxes [ISNE00064199-
                     ISNE00064202]
           152       July 11, 2017 Email from
                     Steve Kowalke to Kelly
                     Gambrell re Snapshot/Pricing-
                     -Monster Mobile attaching
                     Monster Mobile apparel
                     [ISNE00051041-
                     ISNE00051048]
           153       July 18, 2017 Email from
                     Randy Steen to Steve
                     Kowalke re Monster
                     Clearance Lights 0
                     18Jul17.xlsx [ISNE00070256-
                     ISNE00070257]
           154       Screenshot of ISN Facebook     Lacks
                     Page for Monster Brand         Foundation;
                     [MEC028219-MEC028222]          Hearsay
           155       Screenshot of Excesstools.com
                     website [MEC028287-
                     MEC028311]
           156       Screenshot of Excesstools.com
                     website [MEC028280-
                     MEC028286]
           157       Photo of ISN Monster branded
                     screwdriver [MEC028261]
           157-A     Physical - Monster Mobile
                     screwdriver 97643 SL¼"x1-½
           158       Photo of ISN Monster branded
                     screwdriver [MEC049711]
           158-A     Physical - Monster Mobile
                     screwdriver 97662 T8x4"
           159       Photo of ISN Monster branded
                     sweatshirt [MEC049710]
           159-A     Physical - Monster Mobile
                     pullover sweatshirt

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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           160       Photo of ISN Monster
                     Branded 200 Lumen
                     Flashlight [MEC049709]
           160-A     Physical - Monster Mobile
                     200 Lumen Flashlight
                     (MST10003/MST10012)
           161       Photo of Monster Mobile 64oz
                     Stainless Steel Insulated
                     Growler and Packaging
                     [MEC049708]
           161-A     Physical - Monster Mobile
                     64oz Stainless Steel Insulated
                     Growler and Packaging
                     (MSTSG64)
           162       Annual Partnership
                     Agreement between ISN and
                     Suppliers [ISNE0035304-
                     ISNE0035306]
           163       February 22, 2017 Meeting
                     Request from Steve Pilkenton
                     to Steve Kowalke for Monster
                     Trademark Discussion for
                     March 1, 2017
                     [ISNE00032674]
           164       March 26, 2017 Meeting
                     Request for Don Barry et al.
                     Huddle on Monster Lawsuit
                     Strategy on March 30, 2017
                     [ISNE00026794]
           165       July 18, 2017 Email from Don
                     Barry to Steve Kowalke re 2
                     Things [ISNE00063901]
           167       Photos of Makita Sponsor
                     Remote Control Truck
                     [MEC052711-MEC052712]
           168       Photos of “Monster Energy
                     Toolbox Refrigerator”
                     [MEC052708-MEC052710]
           169       Sales History of ISN's
                     Monster brand
                     [ISN000105451-
                     ISN00010483]
           170       ISN Monster Brand
                     Guidelines [SE00000286-
                     SE00000292]


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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           171       October 17, 2011 Email from    Lacks
                     Scott Pilkenton to Ashley      Foundation;
                     Gendron [ISNE00066244-         Hearsay
                     ISNE00066245]
           172       Monster Brand Automotive
                     Tools & Equipment
                     Spring/Summer 2012 catalog
                     [ISNE00021571-
                     ISNE00021604]
           173       Monster Mobile Brand
                     Guidelines [ISN011109-
                     ISN011115]
           174       Metadata Sheet for Exhibit     Lacks
                     173                            Foundation;
                                                    Hearsay;
                                                    Relevance
           175       Monster Mobile Automotive
                     Tools & Equipment 2013
                     catalog [MEC018380-
                     MEC018419]
           176       Monster Mobile Automotive
                     Tools & Equipment Spring
                     2015 catalog [MEC018528-
                     MEC018567]
           177       Monster Mobile Automotive
                     Tools & Equipment Summer
                     2016 catalog [MEC018476-
                     MEC018527]
           177-A     February 4, 2016 Meeting
                     Request for February 5, 2016
                     Meeting re Monster Brand
                     Book Presentation
                     [ISNE00023686]
           178       Physical - Monster Mobile
                     Mechanix Wear co-branded
                     gloves (MST-08-012)
           179       Photos of Joe Knight and his
                     Matco tool truck
                     [MEC052704-MEC052707]
           180       March 16, 2016 Email from
                     Don Barry to Steve Kowalke
                     cc Matthew Rivera re Monster
                     MST08 Series Gloves
                     [ISNE00004235-
                     ISNE00004236]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           182       Photo of Contest Winner
                     [MEC059010]
           183       Photo of Contest Winner
                     [MEC059013]
           184       Photo of Truck with Holiday
                     Decorations [MEC059017]
           185       February 8, 2011 Email from
                     Ron Hyre to Monster Energy
                     Info re Selling Monster
                     Energy Drink [MEC048666-
                     MEC048667]
           186       February 8, 2011 Email from
                     Ron Hyre to Edward
                     Majchrycz Info re Selling
                     Monster Energy Drink
                     [MEC048678-MEC048679]
           187       Photo of Customer with
                     Toolbox [MEC059005]
           188       Photo from Snap-on Ron's
                     Facebook page [MEC059029]
           189       Photo from Snap-on Ron's
                     Facebook page [MEC059028]
           190       December 18, 2015 Email
                     chain from Don Barry to
                     Shelly Stoneman re Matco
                     Monster [ISNE00027477-
                     ISNE00027478]
           191       December 5, 2016 Email from
                     Shelly Stoneman to Don Barry
                     re Channel Plan Follow Up
                     attaching New and Revived
                     Accounts Oct 2016.xlsx.;
                     Monster Sales By SIC Code
                     thru Oct 2016.xlsx; Street
                     Team Sales Results Oct
                     2016.xlsx [ISNE00051462-
                     ISNE00051464]
           192       May 15, 2017 Email from
                     Shelly Stoneman to Steve
                     Kowalke and Tim Pate
                     attaching Mobile SIC Group
                     Sales and customer count-
                     Monster with graph 5.10.xls
                     (Native File) [ISNE00002627-
                     ISNE00002628]



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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           193       February 6, 2017 Email chain
                     from Shelly Stoneman to
                     Joshua Rimmer and Tim Pate
                     re Monster decals attaching
                     Monster Decals Pricing.pdf;
                     Monster Decals.pdf
                     [ISNE00053579-
                     ISNE00053582]
           194       Monster Mobile Flyer
                     Attachment to Exhibit 193
                     [ISNE00011755]
           195       May 16, 2017 Email chain
                     from Shelly Stoneman to
                     Eddie Doman et al. re Monster
                     Decal Request -- MIK459
                     (Mike Geiger) attaching
                     Monster Decals Pricing.pdf
                     [ISNE00048726-
                     ISNE00048729]
           196       August 15, 2017 Email chain
                     from Christine Olivieri to
                     Shelly Stoneman re stickers
                     [ISNE00012966-
                     ISNE00012969]
           197       September 20, 2017 Email
                     from Don Barry to Bob
                     Geisinger et al. re FW
                     Monster Wrap attaching Justin
                     Davis Work Sheet.xls
                     [ISNE00005721-
                     ISNE00005722]
           198       September 20 2017 Email
                     chain between Shelly
                     Stoneman, Don Barry, and
                     Bob Geisinger re Monster
                     Truck Wrap [ISNE00048403-
                     ISNE00048405]
           199       March 21, 2016 Email from
                     Shelly Stoneman to Sarah
                     Shelstrom and Scott Pilkenton
                     re FYI…Monster
                     [ISNE00053881-
                     ISNE00053882]
           200       October 30, 2015 Email from
                     Shelly Stoneman to Don Barry
                     re sales lead [ISNE00051776-
                     ISNE00051777]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           201       January 19, 2017 Email from
                     Tim Pate to Sales Lakeland
                     Mobile et al. re Monster and
                     Redback [ISNE00040859]
           202       January 15, 2016 Email from
                     Don Barry to Bruce Weber, et
                     al re Mobile 2016 Operating
                     Plan: CONFIDENTIAL
                     attaching Sales Channel 2016
                     Plan Format.pptx and AFP
                     2016 Plan.xlsx
                     [ISNE00004784-
                     ISNE00004808]
           203       October 8, 2015 Email from
                     Shelly Stoneman to Martey
                     McIntyre re Mobile 2016
                     Outside Marketing Proposal
                     rev2 attaching Monster Ford
                     Transit Van 2.jpg; Mobile
                     2016 Outside Marketing
                     Proposal rev4.docx
                     [ISNE00059839-
                     ISNE00059841]
           204       August 10, 2017 Email from
                     Goliath Tools Corporate to
                     Shelly Stoneman re
                     permission to use Monster
                     logo on Goliath T-shirts
                     [ISNE00073516-
                     ISNE00073517]
           205       September 7, 2017 Email from
                     Shelly Stoneman to Bill
                     Velluci re Monster TPMS box
                     [ISNE00054165-
                     ISNE00054166]
           206       January 15, 2016 Email chain
                     with Shelly Stoneman to Don
                     Barry and Dave Lubinski re
                     Mountain clearance sale
                     [ISNE00055057-
                     ISNE00055058]




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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           207       September 14, 2017 Email
                     from Don Barry to Shelly
                     Stoneman FW Email blast to
                     Mobile Dealers attaching
                     Monster list for David.xlsx;
                     Dear Monster customer -
                     Monster clearance letter.docx
                     [ISNE00030727-
                     ISNE00030729]
           208       August 15, 2017 Email from
                     Randy Steen to Angie
                     Longstaff et al. re New
                     Monster Products - Mobile
                     attaching ISNM - Monster
                     New Products 8-15-17.pdf and
                     TEP Retail - Monster New
                     Products 8-15-17.pdf
                     [ISNE00013584-
                     ISNE00013588]
           209       Physical - Monster Mobile 25
                     oz. Stainless Steel Insulated
                     Water Bottle
                     (MSTWB25GRN)
           210       December 30, 2016 Email
                     from Randy Steen to Angie
                     Longstaff et al. re
                     GearWrench/Monster
                     Promotions - Mobile attaching
                     Mobile - GearWrench Monster
                     Promos 1-1-17.pdf; TEP
                     Retail - GearWrench Monster
                     Promos 1-1-17.pdf
                     [ISNE00028839-
                     ISNE00028844]
           211       June 2, 2016 Email chain from
                     Shelly Stoneman to Scott
                     Pilkenton forwarding
                     40260_monster.pdf
                     attachment from Brown &
                     Bigelow [ISNE00054015-
                     ISNE00054026]
           212       August 1, 2016 Email chain
                     from Don Barry to Shelly
                     Stoneman and Tim Martin re
                     SEMA/AAPEX
                     [ISNE00032270-
                     ISNE00032271]



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                                                           ISN’S
           Ex. No.   Description
                                                        Objections

           214       Monster Mobile Automotive
                     Tools & Equipment Summer
                     2014 catalog [MEC018568-
                     MEC018591]
           215       Email from Isabelle Wininger      Lacks
                     to John Huegel et al. re Mobile   Foundation;
                     Monster - Lawyers in-house        Hearsay;
                     [ISNE00056754]                    Relevance
           216       July 21, 2016 Email from
                     Scott Pilkenton to Don Barry
                     et al re 2016 TDE Review
                     (How can we make it better)
                     attaching Show Recap.2.xlsx
                     [ISNE00119100-
                     ISNE00119102]
           217       February 15, 2017 Email from
                     Scott Pilkenton to Martin Cote
                     re Tool Expo West Floor Plan
                     [ISNE00134944-
                     ISNE00134947]
           218       January 5, 2011 Email from
                     Scott Pilkenton to Isabelle
                     Wininger re Monster brand
                     launch [ISNE00037850-
                     ISNE00037851]
           219       November 10, 2011 Email
                     from Ashley Gendron to
                     Melissa Sanders et al. re Kick-
                     Off Meeting Tomorrow Nov.
                     11 [ISNE00133264]
           220       April 22, 2013 Email from       Lacks
                     Scott Pilkenton to Isabelle     Foundation
                     Wininger FW: Visit attaching
                     Monster Customer Sales
                     Report.xlsx [ISNE00029482-
                     ISNE00029483]
           221       May 18, 2017 Email from
                     Scott Pilkenton to Steve
                     Kowalke and Isabelle
                     Wininger re Monster Booth
                     attaching monster side2.jpg;
                     monster side 1.jpg
                     [ISNE00020244-
                     ISNE00020246]
           222       Photo of Monster booth at
                     trade show [ISN0027184]


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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           223       April 21, 2017 Email from
                     don Barry to Isabelle
                     Wininger re Board Write-up
                     attaching Monthly Ops
                     Review - Steve Slides -
                     21Apr17.doc [ISNE00015465-
                     ISNE00015475]
           224       September 27, 2011 Email
                     from Scott Pilkenton to
                     Isabelle Wininger re Mountain
                     and Monster goals attaching
                     MTN Recap.final.12.xls
                     [ISNE00046817-
                     ISNE00046818]
           225       May 2, 2012 Meeting request
                     from Scott Pilkenton to
                     Ashely Gendron and Isabelle
                     Wininger et al. re May 3, 2012
                     Meeting re Ashley and
                     Isabelle meet to review
                     monster and mountain budgets
                     for revisions [ISNE00050244]
           226       May 27, 2016 Email chain
                     from Don Barry to Gavin
                     Smith et al re Aaron Allison
                     [ISNE00012769-
                     ISNE00012770]
           227       May 2, 2017 Email from Don
                     Barry to Steve Kowalke re
                     email from Bob Geisinger KTI
                     Brand History
                     [ISNE00048972-
                     ISNE00048974]
           228       March 17, 2016 Meeting         Relevance
                     Request from Don Barry re
                     Meeting on Monster Logo vs.
                     AirCat Killer Torque Logo
                     March 28, 2016 attaching
                     MonsterLogoComparison.pptx
                     [ISNE00027148-
                     ISNE00027149]




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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           229       March 29, 2016 Email chain      Relevance
                     from Don Barry to Bruce
                     Weber, John Snowden, Scott
                     Pilkenton, and Tim Martin re
                     Next Steps: Logo attachments
                     Monster Mobile Logo
                     2016.pdf [ISN00019444-
                     ISN00019446]
           230       May 23, 2016 Email chain        Relevamce
                     from Don Barry to Tim Martin
                     et al. re Monster Logos from
                     2016 [ISNE00051879-
                     ISNE00051881]
           231       December 18, 2015 Email
                     chain from Don Barry to John
                     Snowden re Matco monster
                     attaching image001.png;
                     IMG_3105.jpeg
                     [ISNE00016519-
                     ISNE00016521]
           233       October 1, 2016 Email chain
                     from Don Barry to Bob
                     Geisinger et al re Snap-on
                     [ISNE00061872-
                     ISNE00061873]
           234       April 3, 2017 Email chain
                     from Todd Halloran to Don
                     Barry re forwarding link to
                     lawsuit Monster Energy Co.
                     alleges Integrated Supply
                     Network is unlawfully using
                     Monster mark l Northern
                     California Record
                     [ISNE00015850-
                     ISNE00015852]
           235       April 3, 2017 Email from Don    Lacks
                     Barry to Todd Halloran et al.   Foundation
                     re Monster Brand Litigation
                     Notes with attachment
                     [ISNE00043197-
                     ISNE00043198]
           236       December 2, 2016 "Monster
                     Energy Just Landed a Huge
                     Sponsorship for NASCAR"
                     Article from Fortune.com
                     [MEC024436-MEC024437]



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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           237       December 2, 2016 Email chain
                     between Aaron Allison, Don
                     Barry, Scott Pilkenton and
                     Bruce Weber re link to
                     Fortune article
                     [ISNE00049777]
           238       August 3, 2017 Email between Relevance
                     Don Barry Bruce Weber re
                     Mutant Tools
                     [ISNE00025732]
           239       August 28, 2017 Email chain Relevance
                     between Don Barry, Tracy
                     Veillette, Bob Geisinger et al.
                     re ISN customs clearance
                     [ISNE00024555-
                     ISNE00024557]
           240       July 3, 2017 Email chain        Relevance
                     between Don Barry, Bruce
                     Weber, John Snowden, Bob
                     Geisinger re Tiger Wang
                     [ISNE00032016-
                     ISNE00032017]
           241       January 24, 2016 Email from
                     Don Barry to John Snowden et
                     al. re Monster Bond
                     [ISNE00015124-
                     ISNE00015125]
           242       September 2, 2016 Email from
                     Bob Geisinger to Tim Martin
                     et al. re Monster Bond?
                     [ISNE00072688]
           243       November 29, 2010 Email
                     from Scott Pilkenton to Bruce
                     Weber et al. re Notice from
                     our 2011 Strategic Planning
                     [ISNE00078621-
                     ISNE00078622]
           244       January 18, 2011 Email from
                     Bruce Weber to Gordie Vap re
                     Private Brands Verbiage to
                     Scaffold On [ISNE00081493-
                     ISNE00081495]




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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           245       April 1, 2017 Email from
                     Todd Halloran to Bruce
                     Weber re Monster Energy Co.
                     alleges Integrated Supply
                     Network is unlawfully using
                     Monster mark | Northern
                     California Record
                     [ISNE00034891]
           246       2015 Email from Bruce Weber   Lacks
                     to Bruce Weber re lists       Foundation;
                     [ISNE00016200-                Hearsay;
                     ISNE00016249]                 Relevance
           247       March 27, 2013 email from
                     John Snowden to Bruce
                     Weber re April 4th and 5th
                     [ISNE00135921-
                     ISNE00135923]
           248       December 5, 2013 Email from
                     Rich Hulden to Bruce Weber
                     and John Snowden re Monster
                     Trademark [ISNE00134865-
                     ISNE00134868]
           249       April 22, 2015 Email re ISN's Lacks
                     Plan to grow Monster Brand     Foundation
                     [ISNE00029634]
           250       August 7, 2015 Email from
                     Bruce Weber to Tim Mack
                     and Ryan Bruehlmann re
                     Branding Consultant
                     [ISNE00040682]
           251       October 29, 2015 Email from
                     Bruce Weber to Bruce Weber
                     re Monster Brand Book (first
                     draft) attaching Monster Brand
                     Book (first draft).docx
                     [ISNE00026282-
                     ISNE00026286]
           252       October 1, 2017 Email from
                     Bruce Weber to Bruce Weber
                     re Bruce's Notes 4:45
                     [ISNE00043508-
                     ISNE00043512]
           253       July 18, 2017 Email from Don
                     Barry to Bruce Weber re
                     FEJES & MONSTER
                     [ISNE00022694-
                     ISNE00022695]

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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           254       May 3, 2017 Email from Ray       Lacks
                     Huntley to Bruce Weber re        Foundation,
                     NASCAR Earnhardt attaching       Hearsay
                     Jeffrey Earnhardt
                     Snapshot.pdf; EARNHARDT
                     2017 range.pptx
                     [ISNE00013897-
                     ISNE00013906]
           255       August 3, 2017 Email from
                     Bob Geisinger to Bruce Weber
                     re 5-hour Energy Holiday
                     Shipping Schedule
                     [ISNE00042758-
                     ISNE00042759]
           257       February 14, 2018 Second         Relevance
                     Amended Notice of
                     Deposition of ISN
           260       January 13, 2011 Email from
                     Bill Driscoll to Lee Lampe et
                     al. re MTN & MST Collages
                     attaching Monster Tools
                     Collage.jpg; Monster Tools
                     Collage.pdf; Mountain
                     Collage.jpg; Mountain
                     Collage.pdf [ISNE00126444-
                     ISNE00126448]
           261       January 3, 2013 Email from
                     Scott Pilkenton to David
                     Pentecost re Monster logo
                     with MOBILE and TM
                     [ISNE00071872]
           262       Trademark File History for
                     Registration No. 4,951,671 for
                     Monster Mobile logo
                     [MEC023995-MEC024019]
           263       May 16, 2014 Email from
                     Scott Pilkenton to David
                     Pentecost et al. re Monster
                     Logo usage on packaging
                     [ISNE00043085-
                     ISNE00043087]




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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           264       August 17, 2011 Email from
                     Scott Pilkenton to Darlene
                     Lott, et al. re Monster Style
                     Guide and contacts attaching
                     MONSTER packaging
                     Guidelines 2 24 2011.pdf;
                     MTN MONSTER 02 Logo
                     rvsd 12 2010.pdf
                     [ISNE00025182-
                     ISNE00025190]
           265       ISN Tool Dealer Expo flyer
                     [ISN0024078-ISN0024113]
           266       Monster Brand Automotive
                     Tools & Equipment
                     Spring/Summer 2012 catalog
                     [ISNE00021571]
           267       Tech's Edge Plus Pricing
                     Good May 1-31, 2013
                     [ISN001405-ISN001428]
           268       Monster Mobile Automotive
                     Tools & Equipment Summer
                     2014 catalog [MEC018568-
                     MEC018591]
           269       Monster Mobile Automotive
                     Tools & Equipment Spring
                     2016 catalog [ISN010304-
                     ISN010359]
           270       Monster Mobile Automotive
                     Tools & Equipment Summer
                     2017 catalog [ISN0024432-
                     ISN0024483]
           271       Monster - Litigation File
                     (2010.12 - 2017.06).xlsx
                     (native Excel) [ISN0012418]
           272       Monster purchases report 2011
                     to 2017.xlsx (native Excel)
                     [ISN0068590]
           273       SE Tools - Snack Royalties -
                     ISN [ISN0035520-
                     ISN0035542]
           274       Photo of Monster Mobile       Lacks
                     PTP-173-H Liquid-Filled Pen Foundation;
                     with Light - Monster Tools -  Hearsay
                     [ISNE00067132]




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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           275       Monster Mobile Professional   Lacks
                     Tool Products Jan 2016        Foundation;
                     Presentation 101              Hearsay
                     [ISNE00067122]
           276       Photo of Truck with Monster
                     Energy Logo
           277       Tech's Edge Plus November-
                     December 2016 holiday flyer
                     [ISN003197-ISN003360]
           278       Total Revenue by private
                     brand from 2013-2017
                     [ISN0072269]
           279       Kautz opinion email
                     [ISN0072175-ISN0072176]
           280       February 11, 2014 Letter from
                     Diane M. Reed to Thomas L.
                     Kautz re ISN Monster Mobile
                     [MEC057277-MEC057279]
           281       February 18, 2014 Letter from
                     Thomas L. Kautz to Diane M.
                     Reed re U.S. Trademark
                     Application Serial No.
                     85/806622 for MONSTER
                     MOBILE [MEC057280-
                     MEC057281]
           282       October 31, 2014 Letter from
                     Lynda J. Zadra-Symes to
                     Thomas L. Kautz re
                     Trademark and Trade Dress
                     Infringement [MEC057282-
                     MEC057285]
           283       February 22, 2016 Letter from
                     Lynda J. Zadra-Symes to Ava
                     K. Doppelt re Trademark and
                     Trade Dress Infringement
                     [MEC057286-MEC057293]
           284       March 8, 2016 Letter from
                     Ava K. Doppelt to Lynda J.
                     Zadra-Symes re Trademark
                     Demand Against Integrated
                     Supply Network, LLC
                     [MEC057294-MEC057296]
           285       Excel File: Sales Report for
                     Monster products sold in 2011
                     [ISN0038150]



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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           286       Insurance Policy prepared for   Relevance;
                     ISN by Travelers Commercial     Fed. R. Evid.
                     Insurance Company 2012          403; Fed. R.
                     [ISN0027937-ISN0028048]         Evid. 411
           287       Insurance Policy prepared for   Relevance;
                     ISN by Travelers Commercial     Fed. R. Evid.
                     Insurance Company 2016          403; Fed. R.
                     [ISN0027626-ISN0027780]         Evid. 411
           288       Insurance Policy prepared for   Relevance;
                     ISN by Travelers Commercial     Fed. R. Evid.
                     Insurance Company               403; Fed. R.
                     [ISN027781-ISN027935]           Evid. 411
           289       Physical - Monster Mobile
                     Typical Plier Set
           290       Physical - Monster Mobile
                     Specialty Plier Set
           291       Physical - Monster Mobile
                     monkey wrench (MST98-
                     3200)
           292       Physical - Monster Mobile 9pc
                     Tamper Proof Torx Set
                     (MST97661)
           293       Physical - Monster Mobile
                     R3-500 Rubberized
                     Rechargeable Work Light
                     (MST97192)
           294       Physical - Monster Mobile 6pc
                     File Set (MST97676)
           295       Photo of MSTWB25GRN
                     Monster Branded water bottle
                     [MEC061709]
           296       Photo of ISN Monster
                     Branded 200 Lumen
                     Flashlight [MEC061711]
           297       Physical - Monster Mobile T-
                     Shirt
           298       Photo of ISN Monster
                     Branded 200 Lumen
                     Flashlight [MEC061712]
           299       Photo of ISN Monster
                     Branded T-Shirt
                     [MEC061714]



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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           300       Photo of ISN Monster branded
                     sweatshirt [MEC061710]
           301       January 10, 2017 Email from
                     Tim Martin to Don Barry re
                     Marketing Plans-Monster &
                     KTI attaching Monster 2017
                     Marketing Plan.pptx; KTI
                     Marketing Plan rev. 8.pptx
                     [ISNE00004017-
                     ISNE00004177]
           302       Pantone Matching System
                     Color Chart [MEC060493-
                     MEC060507]
           303       January 3, 2013 email from
                     Scott Pilkenton to Bruce
                     Weber et al. re Revised
                     Monster Logo attaching MST
                     MONSTER 03 logo
                     #C08F8B.eps
                     [ISNE00024171-
                     ISNE00024172]
           304       January 12, 2016 Email from
                     David Pentecost to Tim
                     Martin and Scott Pilkenton re
                     idea for Monster word mark
                     revision [ISNE00046879-
                     ISNE00046882]
           305       Monster Mobile Tools &
                     Equipment Screen Shot
                     [ISN0028196]
           306       July 14, 2017 Email from        Lacks
                     David Pentecost to Jody Sause   Foundation;
                     re New comment on "Monster      Hearsay
                     Tools - Tool Dealer Expo
                     2017 Booth Tour"
                     [ISNE00015321]
           307       September 9, 2017 Email from    Lacks
                     YouTube to Monster              Foundation;
                     Automotive Tools re New         Hearsay
                     comment on "Monster Tools -
                     Tool Dealer Expo 2017 Booth
                     Tour" [ISNE00017595]
           308       Print out of Wikipedia Teen     Lacks
                     Choice Awards [MEC061815-       Foundation;
                     MEC061828; MEC061828]           Hearsay




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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           309       Search results from Adobe        Lacks
                     stock photos for #6233675        Foundation;
                     stock photos, royalty-free       Hearsay
                     images, vectors, video
                     [MEC061799-MEC061814]
           310       January 20, 2016 Email from      Lacks
                     David Pentecost to Scott         Foundation;
                     Pilkenton and Tim Martin re      Hearsay
                     Monster is King T-shirt design
                     [ISNE00073790]
           311       Search results from Adobe        Lacks
                     stock photos for King            Foundation;
                     Skeleton stock photos,           Hearsay
                     royalty-free images, vectors,
                     video [MEC061772-
                     MEC061798]
           312       Native File: September 7,
                     2017 Email from Shelly
                     Stoneman to Bill Velluci re
                     Monster TPMS box
                     [ISNE00068458]
           313       August 2, 2017 Email from
                     David Pentecost to Rich
                     Hulden re Photo - Urgent
                     [ISNE00024632-
                     ISNE00024635]
           314       January 19, 2016 Email from
                     David Pentecost to Print
                     Media re Monster Mobile
                     Logo 2016.eps
                     [ISNE00046174]
           315       April 4, 2013 Email from
                     Scott Pilkenton to Darlene
                     Lott et al. re e-blast for
                     Monster snacks
                     [ISNE00062009]
           316       December 29, 2015 Email
                     from Jody Sause to Scott
                     Pilkenton re PowerPoint
                     needed attaching 2016
                     Publications Outline.pptx
                     [ISNE00002535-
                     ISNE00002546]
           317       March 14, 2017 Email from
                     Trinity Laurino to Jody Sause
                     re Digital Marketing
                     [ISNE00061077-
                     ISNE00061078]

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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           318       January 3, 2017 Email from
                     Tim Martin to Jody Sause re
                     Social Media Idea
                     [ISNE00069236]
           320       April 17, 2017 Email from
                     Jody Sause to Scott Pilkenton
                     and Steve Kowalke re Web
                     Update for Board Meeting
                     attaching DigitalCalendar.xlsx
                     [ISNE00052004-
                     ISNE00052005]
           321       September 18, 2017 Email
                     from John Snowden to Jody
                     Sause re Excess Tools -
                     questions/direction with
                     attachments [ISNE00070328]
           322       Screenshots of ISN Monster     Lacks
                     Facebook Page [MEC021196- Foundation;
                     MEC021200]                     Hearsay
           323       April 25, 2017 Email from
                     Jody Sause to Steve Kowalke
                     re Sponsorship Opportunity -
                     Monster [ISNE00075237]
           324       Screenshots of messages and    Lacks
                     posts from ISN Monster         Foundation;
                     Facebook page [ISN0069183-     Hearsay
                     ISN0069320]
           325       Screenshots of messages from   Lacks
                     ISN Monster Facebook page      Foundation;
                     [ISN0068985-ISN0069182]        Hearsay
           326       Photo of ISN employee
                     wearing Monster shirt
                     [ISN00027053]
           327       Photo of Monster TPMS tool
                     [ISN00027055]
           328       Photo of ISN Monster brand
                     water bottles [ISN00027054]
           329       Photo of ISN Monster Booth
                     at the Tool Dealer Expo
                     [ISN00027071]
           330       Photo of ISN draw sting
                     backpack with Monster Logo
                     at the Tool Dealer Expo
                     [ISN0027076]


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                                                            ISN’S
           Ex. No.   Description
                                                         Objections

           331       Photo of ISN draw sting
                     backpack with Monster Logo
                     at the Tool Dealer Expo
                     [ISN0027213]
           332       Photo of race car at the ISN
                     Tool Dealer Expo at the
                     DeWalt booth [ISN0027108]
           333       Photo of GearWrench race car
           334       Photo of Monster Mobile            Lacks
                     Tools booth at Tool Dealer         Foundation;
                     Expo [ISN0027182]                  Hearsay
           335       Photo of Monster Mobile
                     Tools booth at Tool Dealer
                     Expo [ISN0027183]
           336       Screenshot from Earl               Lacks
                     Seagraves Facebook                 Foundation;
                                                        Hearsay
           354       June 12, 2013 Trademark
                     License Agreement between
                     Monster Energy Company and
                     American Tire Distributors,
                     Inc. [MEC023458-
                     MEC023487]
           355       Makita Ultimate Truck
                     Advertisement [MEC023964]
           356        Joel Strickland's Blog     Lacks
                     [MEC024607-MEC024612]       Foundation;
                                                 Hearsay
           357       Monster Energy Kawasaki Pit        Lacks
                     Kart from T4tabletop.com           Foundation;
                     [MEC048939-MEC048953]              Hearsay
           358       ISN 5/31/17 Condensed
                     Balance Sheet [ISN0021926-
                     ISN0022049]
           359       Tech's Edge Plus, New
                     Product Supplement, February
                     2017 [ISN002077-
                     ISN002108]
           362       March 28, 2011 Email from
                     Scott Pilkenton to Bill Driscoll
                     re Trademarks
                     [ISNE00225334]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           366       File History for Monster
                     Mobile Trademark, Serial No.
                     85806622 [MEC057303-
                     MEC057371]
           370       File History for Trademark
                     Registration No. 4,951,671
                     [MEC057557-MEC057661]
           372       August 13, 2014 Email from
                     Thomas Kautz to Scott
                     Pilkenton re Monster Mobile
                     Logo Applications
                     [GR_01252-GR_01254]
           373       April 28, 2018 Email from
                     Thomas Kautz to Scott
                     Pilkenton re Monster Mobile
                     Logo Trademark Filings –
                     Status Report [GR_01272-
                     GR_01273]
           374       May 13, 2015 Email from
                     Thomas Kautz to Scott
                     Pilkenton re Monster Mobile
                     logo with attachments
                     [GR_01276-GR_01282]
           375       November 5, 2015 Email from
                     Thomas Kautz to Scott
                     Pilkenton re U.S. Trademark
                     Application No. 85/902238
                     and Design with attachments
                     [GR_01295-GR_01298]
           403       Photos of Justin Davis' Tool
                     truck [WILKE0001-
                     WILKE0043]
           407       Screenshots from Isaacson
                     Likelihood of Confusion
                     Survey
           500       Monster Energy 2012 POS
                     Order Form
           1P        February 24, 2017 Opposer's   Relevance
                     Amended Notice of
                     Deposition of INS Pursuant to
                     Fed.R.Civ.P30(b)(6)
           2P        January 21, 2016 Amended
                     Consolidated Notice of
                     Opposition
           4P        Monster Mobile The Brand
                     Book [ISN010484-
                     ISN010512]

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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           5P        Monthly Sales by part number
                     [ISN010451-ISN010483]
           6P        Tech's Edge Plus May-June
                     2016 Catalog [ISN002969-
                     ISN003132]
           7P        Tech's Edge Plus March 1-
                     April 30, 201 Confidential
                     Price List [ISN010513-
                     ISN010552]
           8P        Monster Mobile Automotive
                     Tools & Equipment 2013
                     Catalog [ISN010224-
                     ISN010263]
           9P        Tech's Edge Plus New Product
                     Supplement - December 2014
                     Catalog [ISN002289-
                     ISN002304]
           10P       Screenshot of Monster
                     Products on ISN website
                     [ISN000126-ISN000129]
           11P       Screenshot of Monster Mobile Lacks
                     Facebook account             Foundation;
                     [MEC021210-MEC021230]        Hearsay
           12P       Screenshot of Monster Mobile    Lacks
                     Facebook account                Foundation;
                     [MEC021183-MEC021195]           Hearsay
           13P       Screenshot of Monster Mobile    Lacks
                     Facebook account                Foundation;
                     [MEC023951-MEC023954]           Hearsay
           14P       Screenshot of Monster Mobile    Lacks
                     Facebook account                Foundation;
                     [MEC021196-MEC021200]           Hearsay
           16P       Tech's Edge Plus Pricing
                     Good July 1-31, 2013
                     [ISN001357-ISN001380]
           17P       Professional Distributor
                     February 2017 Magazine
                     [ISN010144-ISN010140]
           18P       Screenshot of Vehicle Service   Lacks
                     Pros website [MEC023985-        Foundation;
                     MEC023988]                      Hearsay



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                                                           ISN’S
           Ex. No.   Description
                                                        Objections

           19P       Screenshot of Vehicle Service     Lacks
                     Pros website [MEC023976-          Foundation;
                     MEC023977]                        Hearsay
           20P       October 27, 2016 Letter from      Relevance
                     Jeffrey S. Standley to Nicholas
                     T. Pinchuk re ISN's "Monster"
                     Trademarks [ISN010412-
                     ISN010416]
           21P       Article from LinkedIn Titled      Lacks
                     "ISN Tool Dealer Expo             Foundation;
                     Surpasses Expectations," by       Hearsay
                     Sarah Shelstrom, published
                     July 17, 2015 [MEC021384-
                     MEC021387]
           22P       2015 Tool Dealer Expo photo
                     gallery, published June 29,
                     2015 [MEC021263-
                     MEC021291]
           23P       Tool Dealer Expo 2016 Image
                     Gallery [MEC021351-
                     MEC021383]
           24P       Photo gallery: ISN Tool
                     Dealer Expo 2016, published
                     June 29, 2016 [MEC021236-
                     MEC021262]
           25P       January 13, 2017 Email from
                     webws to Print Media re
                     Awesome MONSTER
                     Products from Integrated
                     Supply Network [ISN010448-
                     ISN010450]
           26P       Screenshot of Monster
                     Products on ISN website
                     [ISN000186-ISN000188]
           1000      U.S. Trademark Registration
                     No. 4,721,433
           1000A     U.S. Trademark Registration
                     No. 4,721,433 - Certified
           1001      U.S. Trademark Registration
                     No. 3,044,315
           1001A     U.S. Trademark Registration
                     No. 3,044,315 - Certified
           1002      U.S. Trademark Registration
                     No. 3,057,061


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                                                      ISN’S
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                                                    Objections



           1002A     U.S. Trademark Registration
                     No. 3,057,061 - Certified
           1003      U.S. Trademark Registration
                     No. 3,908,601
           1003A     U.S. Trademark Registration
                     No. 3,908,601 - Certified
           1004      U.S. Trademark Registration
                     No. 3,914,828
           1004A     U.S. Trademark Registration
                     No. 3,914,828 - Certified
           1005      U.S. Trademark Registration
                     No. 3,923,683
           1005A     U.S. Trademark Registration
                     No. 3,923,683 - Certified
           1006      U.S. Trademark Registration
                     No. 3,908,600
           1006A     U.S. Trademark Registration
                     No. 3,908,600 - Certified
           1007      U.S. Trademark Registration
                     No. 4,332,062
           1007A     U.S. Trademark Registration
                     No. 4,332,062 - Certified
           1008      U.S. Trademark Registration
                     No. 4,660,598
           1008A     U.S. Trademark Registration
                     No. 4,660,598 - Certified
           1009      U.S. Trademark Registration
                     No. 3,740,050
           1009A     U.S. Trademark Registration
                     No. 3,740,050 - Certified
           1010      U.S. Trademark Registration
                     No. 3,044,314
           1010A     U.S. Trademark Registration
                     No. 3,044,314 - Certified
           1011      U.S. Trademark Registration
                     No. 3,134,842
           1011A     U.S. Trademark Registration
                     No. 3,134,842 - Certified
           1012      U.S. Trademark Registration
                     No. 4,036,680


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1012A     U.S. Trademark Registration
                     No. 4,036,680 - Certified
           1013      U.S. Trademark Registration
                     No. 4,036,681
           1013A     U.S. Trademark Registration
                     No. 4,036,681 - Certified
           1014      U.S. Trademark Registration
                     No. 4,111,964
           1015      U.S. Trademark Registration
                     No. 4,129,288
           1016      U.S. Trademark Registration
                     No. 4,376,796
           1017      U.S. Trademark Registration
                     No. 4,451,535
           1018      U.S. Trademark Registration
                     No. 4,716,750
           1019      U.S. Trademark Registration
                     No. 4,634,053
           1020      U.S. Trademark Registration
                     No. 4,604,556
           1021      U.S. Trademark Registration
                     No. 3,959,457
           1022      U.S. Trademark Registration
                     No. 5,018,111
           1023      U.S. Trademark Registration
                     No. 4,234,456
           1023A     U.S. Trademark Registration
                     No. 4,234,456 - Certified
           1024      U.S. Trademark Registration
                     No. 5,041,267
           1025      U.S. Trademark Registration
                     No. 4,989,137
           1026      U.S. Trademark Registration
                     No. 5,013,706
           1027      U.S. Trademark Registration
                     No. 4,532,292
           1028      U.S. Trademark Registration
                     No. 4,534,414
           1029      U.S. Trademark Registration
                     No. 4,860,491
           1030      U.S. Trademark Registration
                     No. 4,856,373


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1031      U.S. Trademark Registration
                     No. 4,879,793
           1032      U.S. Trademark Registration
                     No. 3,924,797
           1033      U.S. Trademark Registration
                     No. 3,852,118
           1034      U.S. Trademark Registration
                     No. 3,134,841
           1034A     U.S. Trademark Registration
                     No. 3,134,841 - Certified
           1035      U.S. Trademark Registration
                     No. 4,865,702
           1035A     U.S. Trademark Registration
                     No. 4,865,702 - Certified
           1036      U.S. Trademark Registration
                     No. 4,975,822
           1037      U.S. Trademark Registration
                     No. 2,769,364
           1036A     U.S. Trademark Registration
                     No. 4,975,822 - Certified
           1038      U.S. Trademark Registration
                     No. 4,482,659
           1039      U.S. Trademark Registration
                     No. 4,482,660
           1040      U.S. Trademark Registration
                     No. 4,542,107
           1041      U.S. Trademark Registration
                     No. 4,546,402
           1042      U.S. Trademark Registration
                     No. 4,336,329
           1043      U.S. Trademark Registration
                     No. 4,394,044
           1043A     U.S. Trademark Registration
                     No. 4,394,044 - Certified
           1044      U.S. Trademark Registration
                     No. 4,371,544
           1045      U.S. Trademark Registration
                     No. 4,292,502
           1046      U.S. Trademark Registration
                     No. 4,953,200




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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1047      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,688
           1048      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,708
           1049      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,672 (was abandoned
                     on June 9, 2015)
           1050      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,697
           1051      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,755
           1052      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,682
           1053      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,705
           1054      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,761
           1055      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,688
           1056      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     86/371,708
           1057      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     87/285,990



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                                                          ISN’S
           Ex. No.   Description
                                                        Objections

           1058      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     87/285,962
           1059      Patent & Trademark Office’s
                     TSDR printout and application
                     pages for U.S. Serial Nos.
                     87/285,915
           1060      Trademark File History for
                     Application No. 85806622 for
                     Monster Mobile logo
                     [MEC057303-MEC057371]
           1061      Registration No. 4951671 –
                     MONSTER MOBILE
                     [MEC057557-MEC057661]
           1062      Dr. Bruce Isaacson CV and     Subject      to
                     Testimony Experience          ISN’s
                                                   objections that
                                                   Isaacson’s
                                                   Opinions and
                                                   Testimony
                                                   should       be
                                                   excluded;
                                                   Relevance
           1063      Images Displayed in the          Subject      to
                     Survey                           ISN’s
                                                      objections that
                                                      Isaacson’s
                                                      Opinions and
                                                      Testimony
                                                      should       be
                                                      excluded;
                                                      Relevance
           1064      Sales Data used for Item         Subject      to
                     Selection                        ISN’s
                                                      objections that
                                                      Isaacson’s
                                                      Opinions and
                                                      Testimony
                                                      should       be
                                                      excluded;
                                                      Relevance




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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1065      Survey Screener and Main      Subject      to
                     Questionnaire                 ISN’s
                                                   objections that
                                                   Isaacson’s
                                                   Opinions and
                                                   Testimony
                                                   should       be
                                                   excluded;
                                                   Relevance
           1066      Procedures for Contacting     Subject      to
                     Prospective Respondents       ISN’s
                     Recruited Through Trade       objections that
                     Magazines                     Isaacson’s
                                                   Opinions and
                                                   Testimony
                                                   should       be
                                                   excluded;
                                                   Relevance
           1067      Quality Control and           Subject      to
                     Validation Measures           ISN’s
                                                   objections that
                                                   Isaacson’s
                                                   Opinions and
                                                   Testimony
                                                   should       be
                                                   excluded;
                                                   Relevance
           1068      Termination and Removal       Subject      to
                     Summary                       ISN’s
                                                   objections that
                                                   Isaacson’s
                                                   Opinions and
                                                   Testimony
                                                   should       be
                                                   excluded;
                                                   Relevance
           1069      Survey Data File              Subject      to
                                                   ISN’s
                                                   objections that
                                                   Isaacson’s
                                                   Opinions and
                                                   Testimony
                                                   should       be
                                                   excluded;
                                                   Relevance



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                                                          ISN’S
           Ex. No.   Description
                                                        Objections

           1070      Codes for Analyzing Verbatim Subject      to
                     Responses                    ISN’s
                                                  objections that
                                                  Isaacson’s
                                                  Opinions and
                                                  Testimony
                                                  should       be
                                                  excluded;
                                                  Relevance
           1071      Cross Tabulation Tables          Subject      to
                                                      ISN’s
                                                      objections that
                                                      Isaacson’s
                                                      Opinions and
                                                      Testimony
                                                      should       be
                                                      excluded;
                                                      Relevance
           1072      Bureau of Labor Statistics    Subject      to
                     https://www.bls.gov/cps/cpsaa ISN’s
                     t18.htm                       objections that
                                                   Isaacson’s
                                                   Opinions and
                                                   Testimony
                                                   should       be
                                                   excluded;
                                                   Relevance;
                                                   Lacks
                                                   Foundation
           1073      http://www.babcox.com/brand Subject      to
                     -page/underhood-service.    ISN’s
                                                 objections that
                                                 Isaacson’s
                                                 Opinions and
                                                 Testimony
                                                 should       be
                                                 excluded;
                                                 Relevance;
                                                 Lacks
                                                 Foundation




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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           1074      http://www.babcox.com/brand Subject      to
                     -page/bodyshop-business/.   ISN’s
                                                 objections that
                                                 Isaacson’s
                                                 Opinions and
                                                 Testimony
                                                 should       be
                                                 excluded;
                                                 Relevance;
                                                 Lacks
                                                 Foundation
           1075      Page from Monster Energy
                     2007 Media Coverage Action
                     Sports [MEC006867]
           1076      Page from Monster Energy
                     2007 Media Coverage Action
                     Sports [MEC006871]
           1077      Page from Monster Energy
                     2007 Media Coverage Action
                     Sports [MEC006874]
           1078      Advertising Photo of Stanley
                     [MEC050732]
           1079      11537 Kawasaki Crown Ad
                     [MEC012301]
           1080      Monster Energy 2007
                     Motorsports Media Coverage
                     [MEC007477-MEC007673]
           1081      Page from Monster Energy
                     2007 Motorsports Media
                     Coverage [MEC007508]
           1082      Page from Monster Energy
                     2007 Motorsports Media
                     Coverage [MEC007516]
           1083      Page from Monster Energy
                     2007 Motorsports Media
                     Coverage [MEC007537]
           1084      Page from Monster Energy
                     2007 Motorsports Media
                     Coverage [MEC007657]
           1085      Page from Monster Energy
                     2007 Motorsports Media
                     Coverage [MEC007666]
           1087      Page from October 3, 2012      Lacks
                     Time for a truck upgrade?,     Foundation;
                     Vehicle Pros [MEC023986]       Hearsay


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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           1088      Russell W. Mangum III CV
           1089      List of Documents Received      Relevance
           1090      December 29, 2010 - October
                     31, 2017 ISN Monster Mobile
                     Product Sales by Year Per
                     ISN0038150
           1091      Summary of Monster Mobile
                     Royalty Payments from SE
                     Sales to ISN, 2011 Q1 through
                     2016 Q4
           1092      Trademark License
                     Agreements by Licensee
           1093      December 29, 2010 - October
                     31, 2017 Estimated Royalties
                     Owed to MEC by Year, Per
                     ISN0038150
           1094      “About Us.” ISN Website,
                     http://isnweb.com/isnweb/abo
                     ut.
           1095      August 17, 2011 Trademark
                     License Agreement between
                     Integrated Supply Network
                     and SE Sales [ISN011116]
           1096      Parr, R.L., Royalty Rates for
                     Licensing Intellectual
                     Property. Hoboken, NJ (2007)
           1097      Excel File: Trademark
                     Licensing Royalties 2009 –
                     2017 – Total [MEC060155]
           1098      March 11, 2010 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and 43 Racing, LLC
                     [MEC022135-MEC022162 ]
           1099      March 29, 2008 License
                     Agreement between Hansen
                     Beverage Company and Castle
                     Sales Co., Inc. [MEC022185-
                     MEC022195]
           1100      March 1, 2012 Trademark
                     License Agreement between
                     Monster Energy Company and
                     Yamaha Motor Corporation,
                     USA [MEC022363-
                     MEC022386]

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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           1101      January 1, 2013 Trademark
                     License Agreement between
                     Monster Energy Company and
                     Clinton Enterprises LTD
                     [MEC022454-MEC022486]
           1102      November 4, 2015 Trademark
                     License Agreement between
                     Monster Energy Company and
                     Pro Circuit Products, Inc.
                     [MEC023633-MEC023666]
           1103      June 2, 2011 License
                     Agreement between Hansen
                     Beverage Company and Castle
                     Sales Company, Inc.
                     [MEC022214-MEC022222]
           1104      Excel File: Overall NASCAR
                     Spend [MEC065119]
           1105      February 21, 2018 Royalty
                     Source Report
           1106      February 22, 2018 ktMine
                     Report
           1107      October 10, 2011 Email from   Lacks
                     Monster Energy Info to Chad   Foundation;
                     McGill re Monster Energy      Hearsay
                     Drink | Unleash The Beast |
                     Online Contact Form
                     8675309|277314|9999999
                     [MEC048677]
           1108      October 10, 2011 Email from   Lacks
                     David Peluso to Brian and     Foundation;
                     Chad McGill re Monster        Hearsay
                     Energy Drink | Unleash The
                     Beast | Online Contact Form
                     8675309|277314|9999999
                     [MEC048675-MEC048676]
           1109      November 9, 2012 Email from   Lacks
                     James Arena to Jim            Foundation;
                     Spampinato and Nathan         Hearsay
                     Nielson re Monster Energy
                     Drink | Unleash The Beast |
                     Online Contact Form
                     8675309|451536|9999999
                     [MEC048671-MEC048672]




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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           1111      September 21, 2012 Email         Lacks
                     from Mark Grimm to Robert        Foundation;
                     Maggi re Monster Energy          Hearsay
                     Drink | Unleash The Beast |
                     Online Contact Form
                     8675309|427027|9999999
                     [MEC048662-MEC048663]
           1112      September 21, 2012 Email         Lacks
                     from Robert Maggi to Robert      Foundation;
                     Lirette re Monster               Hearsay
                     [MEC048674]
           1113      Screen shot of Devin Curler      Lacks
                     Authorized Matco Tools           Foundation;
                     Distributor Facebook Page        Hearsay
                     [MEC048569]
           1114      Article "Matco Tools             Lacks
                     distributor in Balitmore Keven   Foundation;
                     Vernon distributor profile       Hearsay
                     about creative merchandising"
                     vehicleservicepros.com
                     website [MEC048609]
           1115      February 28, 02 McLean
                     Design for Hansens Beverage
                     [MEC061340]
           1116      Screen shot of Monster service   Lacks
                     carts from Monster Tools         Foundation;
                     Facebook page [MEC023943-        Hearsay
                     MEC023946]
           1117      Screen shot of Monster Tools     Lacks
                     Facebook page [MEC023947-        Foundation;
                     MEC023950]                       Hearsay
           1118      Screen shot of Monster 4         Lacks
                     drawer carts from Monster        Foundation;
                     Tools Facebook page              Hearsay
                     [MEC023955-MEC023958]
           1119      Screen shot of MST9214 from      Lacks
                     Monster Tools Facebook page      Foundation;
                     [MEC023959-MEC023962]            Hearsay
           1121      Photo of Monster Mobile
                     branded tools [MEC025311]
           1122      Photo of Monster Mobile
                     branded MST1066 Waterproof
                     66 LED Rechargeable Work
                     Light [MEC025313]


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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           1123      Photo of Monster Mobile tool
                     set [MEC025315]
           1124      Jan 19, 2015 Image of Pro
                     Circuit/Monster Energy glove
                     [MEC024815]
           1125      Monster Energy sponsorship
                     photos [MEC059091-
                     MEC059095]
           1126      December 16, 2003 Wayback        Lacks
                     screenshot of Happenings on      Foundation
                     Monster Energy website
                     [MEC061763-MEC061764]
           1127      Website Printout of Monster      Lacks
                     Energy website - Happenings -    Foundation
                     2004 [MEC060061-
                     MEC060065]
           1128      Website Printout of Monster      Lacks
                     Energy website - Happenings -    Foundation
                     2005 [MEC060066-
                     MEC060067]
           1129      Website Printout of Monster      Lacks
                     Energy website - Music           Foundation
                     Events - 2006 [MEC060068-
                     MEC060071]
           1130      Screen shot of Monster           Lacks
                     Energy/Suzuki's Jason            Foundation
                     Lawrence Goes Big in Texas
                     under events on Monster
                     Energy website [MEC060072]
           1131      Screen shot of 2005 Laughlin's   Lacks
                     Biker Mardi Gras Presented       Foundation
                     by Monster Energy under
                     events on Monster Energy
                     website [MEC060073]
           1132      Screen shot of The Parts         Lacks
                     Unlimited MiniMotos SX           Foundation
                     Presented by Monster Energy
                     Drink under events on
                     Monster Energy website
                     [MEC060090]
           1146      Monster Energy AMA
                     Supercross Sponsor 2008
                     Fulfillment Report
                     [MEC004640-MEC004710]




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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1147      Monster Energy AMA
                     Supercross 2014 Fulfillment
                     Report [MEC022968-
                     MEC023011]
           1148      Monster Energy AMA
                     Supercross 2015 Fulfillment
                     Report [MEC023012-
                     MEC023055]
           1149      Monster Energy AMA
                     Supercross 11972 Supercross
                     Pit Pass Channel Strip 7-11
                     [MEC012345]
           1150      Monster Energy 12415
                     Supercross On-site action T-
                     shirt & Mesh Back Wall
                     [MEC012416]
           1151      Monster Energy 11950
                     Supercross Signing Cards
                     Final 1 [MEC012429-
                     MEC012430]
           1152      Monster Energy AMA
                     Supercross 11932 Monster
                     Team Supercross Badge &
                     Redemption Card
                     [MEC012472]
           1153      Monster Energy AMA
                     Supercross 12338 Supercross
                     Notional-Regional Promo
                     [MEC012496]
           1154      Photo of 12388 SuperCross
                     National-Regional Promo
                     [MEC012497]
           1155      Screenshot of 2015 Monster
                     Energy Supercross on Monster
                     Energy Website
                     [MEC012738-MEC012740]
           1156      Monster Energy "Living on
                     Edge" Presentation by Geoff
                     Bremmer Director of
                     Marketing [MEC011251-
                     MEC011297]
           1157      Monster Energy AMA
                     Supercross Sign
                     [MEC061928-MEC061929]




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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1158      2010 DUB Show Tour
                     Custom Auto Show and
                     Concert Sponsorship
                     Agreement between DUB
                     Publishing, Inc. and Monster
                     Beverage Company
                     [MEC060238-MEC060254]
           1159      2012 DUB Show Tour
                     Custom Auto Show and
                     Concert Sponsorship
                     Agreement between DUB
                     Publishing, Inc. and Monster
                     Beverage Company
                     [MEC060255-MEC060270]
           1160      First Amendment to Mult-
                     Year Sponsorship Agreement
                     between Monster Energy
                     Company and DUB
                     Publishing, Inc. [MEC060271-
                     MEC060272]
           1161      DUB Show Tour Custom
                     Auto Show and Concert Mult-
                     Year Sponsorship Agreement
                     between DUB Publishing, Inc.
                     and Monster Energy company
                     [MEC060273-MEC060288]
           1162      2011 DUB Show Tour
                     Custom Auto Show and
                     Concert Sponsorship
                     Agreement between DUB
                     Publishing, Inc. and Monster
                     Beverage Company
                     [MEC060289-MEC060304]
           1163      2009 DUB Show Tour
                     Custom Auto Show and
                     Concert Sponsorship
                     Agreement between DUB
                     Publishing, Inc. and Monster
                     Beverage Company
                     [MEC060305-MEC060320]
           1164      2008 DUB Show Tour
                     Custom Auto Show and
                     Concert Sponsorship
                     Agreement between DUB
                     Publishing, Inc. and Monster
                     Beverage Company
                     [MEC060321-MEC060335]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1165      Sponsorship Agreement
                     between DUB Publishing, Inc.
                     and Monster Energy Company
                     [MEC060353-MEC060368]
           1166      March 3, 2014 Letter from
                     Rodney Sacks to Pierce Flynn,
                     VP, Business Development at
                     DUB Publishing re Letter
                     Agreement for 14th Annual
                     DUB Expo & VIP Social
                     [MEC060342-MEC060347]
           1167      October 28, 2011 Letter from
                     Rodney Sacks to Pierce Flynn,
                     VP, Business Development at
                     DUB Publishing re Letter
                     Agreement for 12th Annual
                     DUB Expo & VIP Social
                     [MEC060348-MEC060352]
           1168      Apr 05 2017 Mutant North & Relevance
                     South Stages at Van Warped
                     Tour 2017 article from
                     Monster Energy Website
                     [MEC061923-MEC061927]
           1169      Monster Energy Kawasaki
                     12322 Monster Kawasaki
                     Triple Crown MX
                     [MEC012484]
           1170      Monster Energy Kawasaki Pit
                     Bike Give Away
                     [MEC017320]
           1171      Monster Energy/Kawasaki
                     Sweepstakes Form
                     [MEC017761]
           1172      Monster Energy Ultimate
                     Truck POS Order Form
                     [MEC018025-MEC018026]
           1173      Monster Makita Ultimate
                     Truck Sweepstakes Rules
                     [MEC018027]
           1174      Monster Energy Ultimate
                     Truck Sweepstakes
                     [MEC021182]
           1175      Monster Energy 11303
                     Monster/Makita Promo POS
                     Channel Strip, Static &
                     Header [MEC012369]


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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           1176      Monster Energy 11303
                     Monster/Makita Promo POS
                     Ceiling Dangler, Sell Sheet &
                     Poster [MEC005565]
           1177      Photo of 11422 Lo-Res
                     Ultimate Truck POS
                     [MEC005566]
           1178      Monster Energy 11303
                     Monster/Makita Promo POS
                     Ceiling Dangler, Sell Sheet &
                     Poster [MEC005603]
           1179      Monster Energy Motorsports
                     Special Promotions - 2005 -
                     2009 [MEC060012-
                     MEC060013]
           1180      Monster Energy Kawasaki
                     Retail Promotion Exclusive
                     for Circle K [MEC027802-
                     MEC027805]
           1181      Monster Energy License
                     Agreement between Hansen
                     Beverage Company and
                     Kawasaki Heavy Industries,
                     Ltd. [MEC023057-
                     MEC023068]
           1182      Title Sponsorship Agreement
                     between Monster Beverage
                     Company and Kyle Busch
                     Motorsports, Inc.
                     [MEC023072-MEC023104]
           1183      Article titled "Modern           Lacks
                     Warfare 2 Is A 'Monster'!" by    Foundation;
                     Brendan Ecock on                 Hearsay
                     Dualshockers website
                     [MEC059409-MEC059411]
           1184      October 24, 2013 Article         Lacks
                     "Monster Energy adds limited     Foundation;
                     edition Call of Duty Ghosts      Hearsay
                     can" on Talking Retail website
                     [MEC060024-MEC060025]
           1185      Monster Energy Assassin's
                     Creed Origins Promotion
                     [MEC061915-MEC061918]




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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           1186      Limited Liability Company
                     Operating Agreement for
                     Epicenter Music Festival, LLC
                     between Hansen Beverage
                     Company, Inc., Gary Spivack,
                     Del Williams, Danny
                     Wimmer, and Tony Guanci
                     [MEC061563-MEC061585]
           1187      February 1, 2011 Letter from
                     Jeff Lewis to Michael Rudy re
                     Epiccenter Music Festival,
                     LLC -w- The California
                     Speedway / Track Usage
                     Agreement [MEC061554-
                     MEC061562]
           1188      Sponsorship Agreement
                     between Right Arm Talent &
                     Concert Division, Inc. and
                     Monster Energy Company
                     [MEC061829-MEC061834]
           1189      Sponsorship Agreement
                     between Right Arm Talent &
                     Concert Division, Inc. and
                     Monster Energy Company
                     [MEC061835-MEC061840]
           1190      Sponsorship Agreement
                     between Right Arm Talent &
                     Concert Division, Inc. and
                     Monster Energy Company
                     [MEC061841-MEC061846]
           1191      Sponsorship Agreement
                     between Danny Wimmer
                     Presents, LLC and Monster
                     Energy Company
                     [MEC061847-MEC061852]
           1192      March 14, 2007                  Lacks
                     Makita/Monster Energy           Foundation;
                     "Ultimate Truck" by Bryan       Hearsay
                     Stealey [MEC021345-
                     MEC021348]
           1193      Monster Makita Ultimate         Lacks
                     Truck Sweepstakes Promotion     Foundation;
                     [MEC021388-MEC021389]           Hearsay
           1195      “Kawasaki and Monster           Lacks
                     Energy Join Forces in 2007” –   Foundation;
                     article [MEC029702-             Hearsay
                     MEC029703]

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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           1196      Monster Energy and MotoGP
                     Valentino Rossi brochure
                     [MEC001910-MEC001933]
           1197      Monster Energy Pre-Winter
                     X-Games Traning Camp Flyer
                     [MEC005203]
           1198      Photographs showing Monster
                     sponsored vehilcles, stadiums,
                     athletes, and events bearing
                     MONSTER marks and trade
                     dress [MEC001602-
                     MEC001641]
           1199      Photo of Stage with Monster
                     Energy Logo [MEC006141-
                     MEC006142]
           1200      Photo of Truck and Trailer
                     with Monster Energy Logo
                     [MEC009857]
           1201      Screenshot of The Official
                     Site of the Anaheim Ducks
                     Group Leader Benefits Page
                     showing Zamboni Ride with
                     Monster Logo [MEC010011]
           1202      Photos of 3.10 4 ft Jump Ryan
                     Capes [MEC010024-
                     MEC010039]
           1204      Photos of clothing bearing
                     Monster's marks and trade
                     dress for sale at events
                     [MEC011027-MEC011043]
           1205      Photos of sponsored events
                     and athletes bearing Monster's
                     marks and trade dress
                     [MEC024020-MEC024029]
           1206      Photos of vehicles bearing
                     Monster's marks and trade
                     dress [MEC024075-
                     MEC024084 ]
           1207      Photos of sponsored sports
                     and events bearing Monster's
                     marks and trade dress
                     [MEC024091-MEC024357 ]
           1208      Photos of sponsored athletes,
                     teams, and events bearing
                     Monster’s marks and trade
                     dress [MEC024377-
                     MEC024401]

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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           1209      Photos of motorsports cars and
                     tools bearing Monster's marks
                     and trade dress [MEC024402-
                     MEC024406 ]
           1210      Photos of consumers with
                     Monster beverages and
                     Monster Ambassador Teams
                     [MEC025577-MEC025682 ]
           1212      Photos of Monster Energy
                     Logos at music events and
                     sponsored sports
                     [MEC031024-MEC031045 ]
           1214      Photos of clothing bearing
                     Monster's marks and trade
                     dress [MEC031442-
                     MEC031447]
           1216      Photos of Monster Energy
                     Logos at music events and
                     sponsored sports
                     [MEC004826-MEC004836 ]
           1217      Photos of Monster Energy
                     Logos at music events and
                     sponsored sports
                     [MEC004868-MEC004931 ]
           1218      August 17, 2011 Article "The Lacks
                     Fabulous Forum" from Los       Foundation;
                     Angeles Times Website          Hearsay
                     [MEC005397-MEC005403]
           1222      Photos of Monster Energy
                     Logos at music events and
                     sponsored sports
                     [MEC006042-MEC006121 ]
           1229      Photos of Monster Energy
                     Logos at music events and
                     sponsored sports
                     [MEC024440-MEC024449]
           1230      Vaughn Gittin Jr 2016 Ford
                     Mustang RTR Competiton-
                     Spec Drift Car [MEC025296]
           1231      Photos of Monster Energy
                     Logos at music events and
                     sponsored sports
                     [MEC001942-MEC002099]
           1232-1    2006 Media Coverage - Book
                     1[MEC003771-MEC003814]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1232-2    2006 Media Coverage – Book
                     2 [MEC003815-MEC004087]
           1232-3    2006 Media Coverage – Book
                     3 [MEC004088-MEC004431]
           1233-1    2007 Media Coverage Action
                     Sports – Book 1
                     [MEC006392-MEC006591]
           1233-2    2007 Media Coverage Action
                     Sports – Book 2
                     [MEC006591-MEC006745]
           1233-3    2007 Media Coverage Action
                     Sports – Book 3
                     [MEC006746-MEC006902]
           1233-4    2007 Media Coverage
                     Supercross/Motocross
                     [MEC006903-MEC007087]
           1233-5    2007 Motorsports Media
                     Coverage – Book 1
                     [MEC007088-MEC007269]
           1233-6    2007 Motorsports Media
                     Coverage – Book 2
                     [MEC007270-MEC007476]
           1233-7    2007 Motorsports Media
                     Coverage – Book 3
                     [MEC007477-MEC007673]
           1233-8    2007 Motorsports Media
                     Coverage – Book 4
                     [MEC007674-MEC007872]
           1233-9    2007 Motorsports Media
                     Coverage – Book 5
                     [MEC007873-MEC008148]
           1233-10   2007 Motorsports Media
                     Coverage – Book 6
                     [MEC008149-MEC008341]
           1233-11   2008 Action Sports Media -
                     Book 1 [MEC008342-
                     MEC008566]
           1233-12   2008 Action Sports Media -
                     Book 2 [MEC008567-
                     MEC009472]
           1233-13   2008 Motorsports Media –
                     Book 1 [MEC009473-
                     MEC009631]



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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           1233-14   2008 Pro Circuit / Kawasaki
                     Media Book [MEC009632-
                     MEC009852]
           1234      2007 Motorsports Media
                     Coverage [MEC025720-
                     MEC025916]
           1235      Baja 1000 photographs
                     [MEC028714-MEC028749]
           1236      Website printouts showing
                     products bearing Monster's
                     mark and trade dress
                     [MEC005387-88]
           1237      Website printout re “2015     Lacks
                     Monster Energy Diecast”       Foundation;
                     [MEC017231]                   Relevance
           1240      Promotional materials and
                     website printout advertising
                     the Monster Energy® AMA
                     Supercross [MEC012345,
                     MEC012416, MEC012429,
                     MEC012472, MEC012496,
                     MEC012738-MEC012739]
           1241      Images of 2012 Dub Show       Lacks
                     Tour showing Monster's        Foundation
                     marks and trade dress.
                     [MEC051474, MEC051479,
                     MEC051483, MEC012410]
           1243      A printout from the           Relevance
                     www.MonsterEnergy.com
                     website showing Monster’s
                     promotion of the Vans
                     Warped Tour in connection
                     with the MONSTER Marks
                     [MEC061924-MEC061927]
           1245      Kawasaki 2005-2007
                     Consumer Promo materials
                     [MEC012484, MEC017320,
                     MEC017761-MEC017763]
           1246      Promotional materials for the
                     2006 Monster Makita Ultimate
                     Truck Sweepstakes
                     [MEC005565-MEC005566,
                     MEC005603, MEC012369,
                     MEC018025-MEC018027,
                     MEC021182]



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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           1247      Promotional materials for
                     Modern Warfare 2 Consumer
                     Promo and article
                     [MEC011290,
                     MEC011295-MEC011296,
                     MEC060024-MEC060025]
           1248      Website printout of
                     www.monsterenergy.com
                     showing promo for Ubisoft’s
                     Assassin’s Creed Origins
                     game [MEC061916-
                     MEC061918]
           1249-1    Article: Binkley, C., “A Real    Lacks
                     Advertising Vehicle:             Foundation;
                     Marketers Roll Dice with         Hearsay
                     Latest ‘Thrill Ride:’ It’s a
                     Hike to Some Casinos,” The
                     Wall Street Journal, June 3,
                     2003 [MEC000168-
                     MEC000169]
           1249-2    Article: O’Rourke, K., “Not      Lacks
                     Just Bull: The Energy Drink      Foundation;
                     Category is a Lot More Than      Hearsay
                     Just Bulls, There are
                     Rockstars, Monsters, Stingers,
                     Too,” beverage aisle, October
                     15, 2003, 12 (10)
                     [MEC004536-MEC004537]
           1249-3    Article: “Monster Moves Into     Lacks
                     Mexico,” Soft Drinks             Foundation;
                     International, July 2006         Hearsay
                     [MEC004599-MEC004600]
           1249-4    Cover and excerpt,               Lacks
                     BeverageWorld, January 15,       Foundation;
                     2009 [MEC004607-                 Hearsay
                     MEC004608]
           1249-5    Article: “[round-up] Energy      Lacks
                     Drinks,” beverage aisle,         Foundation;
                     February 15, 2004, 13 (21)       Hearsay
                     [MEC014890-MEC014891]
           1249-6    Article: “The Sharks are         Lacks
                     Circling,” Beverage Spectrum,    Foundation;
                     June 2006 [MEC0161130-           Hearsay
                     MEC0161131]




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                                                           ISN’S
           Ex. No.   Description
                                                        Objections

           1249-7    Article: Landi, H., “Creating a   Lacks
                     Monster: In the competitive       Foundation;
                     energy drink market, Hansen       Hearsay
                     unleashes its wild side,”
                     BeverageWorld, February 15.
                     2006. [MEC0161140-
                     MEC0161141]
           1249-8    Article: “Hot Growth              Lacks
                     Companies,” BusinessWeek,         Foundation;
                     June 5, 2006 [MEC003612-          Hearsay
                     MEC003616]
           1249-9    Article: Weintraub, A.            Lacks
                     “Sizzling Hot Growth, The         Foundation;
                     100 Companies on                  Hearsay
                     BusinessWeek’s list may not
                     be big, but they’re agile and
                     fiercely competitive,”
                     BusinessWeek.com, May 25,
                     2006 [MEC003621-
                     MEC003625]
           1249-10   Article: “Hot Growth -            Lacks
                     Rodney C. Sacks, Chairman         Foundation;
                     and Chief Executive Officer –     Hearsay
                     Hansen Natural (HANS),”
                     BusinessWeek.com, May 25,
                     2006 [MEC003626]
           1249-11   Article: Rosenberg, Y., et al.,   Lacks
                     “Fortune’s 100 Fastest            Foundation;
                     Growing Companies,”               Hearsay
                     Fortune, September 17, 2007
                     [MEC003667-MEC003678]
           1249-12   Article: Murr, A., “Monster       Lacks
                     vs. Red Bull, An upstart in the   Foundation;
                     $3 billion energy-drink market    Hearsay
                     takes on the industry leader.
                     Can the buzz continue?”
                     Newsweek, March 20, 2006
                     [MEC029718-MEC029719]
           1250      USPTO TESS database and
                     United States Patent and
                     Trademark Office records for
                     all of MEC’s registrations
                     asserted in MEC’s Complaint




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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           1251      Monster point-of-sale
                     marketing items bearing the
                     MONSTER Marks,
                     MONSTER Trade Dress
                     and/or BEAST-inclusive
                     Marks [MEC001546,
                     MEC001583, MEC002157,
                     MEC005396, MEC005609-
                     MEC005611, MEC05614-
                     MEC05615, MEC05629-
                     MEC05632]
           1252      A printout from Monster’s   Lacks
                     Facebook page [MEC064514- Foundation;
                     MEC0645120]                 Hearsay
           1253      A printout from Monster’s  Lacks
                     Instagram page [MEC047511- Foundation;
                     MEC047518]                 Hearsay
           1254      A copy of Monster’s Twitter    Lacks
                     page [MEC047519-               Foundation;
                     MEC047536]                     Hearsay
           1255      A copy of Monster’s YouTube Lacks
                     page [MEC047537-            Foundation;
                     MEC047540]                  Hearsay
           1256      Stats for Top Brand Facebook   Lacks
                     pages [MEC060947-              Foundation;
                     MEC060952]                     Hearsay
           1257      Photographs of products
                     ordered from ISN bearing the
                     Monster mark [MEC028262,
                     MEC028270]
           1258      December 20, 2017 - Website
                     printout -
                     www.excesstools.com
                     [MEC058109-MEC058114]
           1259      Registration Certificate for
                     Registration No. 4,721,432
           1263      February 5, 2018 Letter from
                     Zadra-Symes to Thomas
                     (Monster Transmission) re
                     Unauthrozed Use of Monster
                     Marks [MEC066070-
                     MEC066074]



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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           1264      March 13, 2018 Letter from
                     Zadra-Symes to Ayers
                     (Komelon USA Corp.) re
                     Unauthrozed Use of Monster
                     Marks [MEC066075-
                     MEC066079]
           1268      November 4, 2014 email sent
                     by Integrated Supply Network
                     to Bruce Weber with the
                     Subject Line “Feed the Beast!
                     – Monster Snacks from
                     Integrated Supply Network
                     LLC” [ISNE00035282-
                     ISNE00035286]
           1269      January 16, 2015 email sent     Lacks
                     by Kim Hayes to Nellda Clark    Foundation;
                     and John Snowden with the       Hearsay
                     Subject Line “FW: FW:
                     Monster part numbers to be
                     set-up to sell”
                     [ISNE00153206]
           1270      June 27, 2016 email sent by     Lacks
                     Shelly Stoneman to Justin       Foundation;
                     Morris, Scott Pilkenton, and    Hearsay
                     Tim Pate with the Subject
                     Line “RE: RE: monster shirts”
                     [ISNE00055584-
                     ISNE00055585]
           1271      April 7, 2017 email sent by     Lacks
                     Shareka Jackson to Shelly       Foundation;
                     Stoneman with the Subject       Hearsay
                     Line “RE: RE: Shirts”
                     [ISNE00058558]
           1272      July 19, 2016 email sent by
                     Shelly Stoneman to Greg
                     Gann with the Subject Line
                     “FW: FW: Hardware Bold and
                     Tool HBT001, GBT002,
                     HAR159” [ISNE00050920-
                     ISNE00050921]
           1273      July 21, 2016 email sent by
                     Shelly Stoneman to Roger
                     Quesada with the Subject Line
                     “RE: RE: Hardware Bold and
                     Tool HBT001, GBT002,
                     HAR159” [ISNE00061802-
                     ISNE00061803]


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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1274      July 22, 2016 email sent by
                     Shelly Stoneman to Roger
                     Quesada with the Subject Line
                     “RE: RE: Monster”
                     [ISNE00053446]
           1275      June 15, 2017 email sent by
                     Shelly Stoneman to
                     sidecardeb@gmail.com and
                     cc’d to Jorge Lopes, Don
                     Barry, Steve Kowalke and
                     Tim Pate with the Subject
                     Line “Monster on Face Book
                     Agreement” [ISNE00062341]
           1276      August 10, 2017 email sent by
                     Shelly Stoneman to Jorge
                     Lopez and Jody Sause with the
                     Subject Line “FW: FW:
                     Monster end user request”
                     [ISNE00055461]
           1277      Images of MEC’s point of sale
                     displays [MEC001557-
                     MEC001567]




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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           1278      March 2, 2018 and March 22,
                     2018 Website printouts re
                     www.monster-tools.com
                     [MEC065512-MEC065513;
                     MEC065515; MEC065476;
                     MEC065479; MEC065482;
                     MEC065485; MEC065488;
                     MEC065491; MEC065494;
                     MEC065497; MEC065500;
                     MEC065503; MEC065506;
                     MEC065509; MEC065518;
                     MEC065521; MEC065838;
                     MEC065841; MEC065844;
                     MEC065847; MEC065850;
                     MEC065853; MEC065856;
                     MEC065859; MEC065860;
                     MEC065862; MEC065863;
                     MEC065865; MEC065866;
                     MEC065868; MEC065871;
                     MEC065874; MEC065875;
                     MEC065877; MEC065880;
                     MEC065881; MEC065883;
                     MEC065884; MEC065886;
                     MEC065887; MEC065889;
                     MEC065892; MEC065896;
                     MEC065524; MEC065528;
                     MEC065549; MEC065557;
                     MEC065570; MEC065580;
                     MEC065588; MEC065626;
                     MEC065631; MEC065635;
                     MEC065665; MEC065674;
                     MEC065678; MEC065719;
                     MEC065723; MEC065731;
                     MEC065736; MEC065787;
                     MEC065791; MEC065795;
                     MEC065803; MEC065807;
                     MEC065811; MEC065816;
                     MEC065821; MEC065836]
           1279-1    February 23, 2018 screen       Lacks
                     shots of ToolGuyd website      Foundation;
                     [MEC064776-MEC064784]          Hearsay
           1279-2    Snap-on Tools renews with      Lacks
                     Pedregon through 2020          Foundation;
                     NHRA season [MEC064904-        Hearsay
                     MEC064905]
           1279-3    Screen shots of Antron Brown   Lacks
                     website [MEC064916-            Foundation;
                     MEC064920]                     Hearsay


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                                                            ISN’S
           Ex. No.   Description
                                                         Objections

           1279-4    Matco Tools, Don                   Lacks
                     Schumacher Racing extend           Foundation;
                     marketing partnership              Hearsay
                     [MEC064921-MEC064922]
           1279-5    Screen shots of                    Lacks
                     www.matcotools.com                 Foundation;
                     [MEC064935-MEC064940]              Hearsay
           1279-6    “Force Racing deal”                Lacks
                     [MEC064979-MEC064980]              Foundation;
                                                        Hearsay
           1280-1    March 15, 2016 Website             Lacks
                     printouts re Monster Energy        Foundation;
                     products for sale at Pro Circuit   Hearsay
                     website [MEC016136-
                     MEC016141; MEC016154-
                     MEC016156; MEC016183-
                     MEC016220; MEC016227-
                     MEC016232; MEC016239-
                     MEC016293; MEC016297-
                     MEC016299]
           1280-2    January 30, 2017 Website           Lacks
                     printout re Monster Energy         Foundation;
                     products for sale on amazon        Hearsay
                     website
                     [MEC021709-MEC021728]
           1280-3    January 30, 2017 Website           Lacks
                     printout re Monster Energy         Foundation;
                     NASCAR products for sale on        Hearsay
                     NASCAR website
                     [MEC021746-MEC021751]
           1281      Notice of Opposition of Serial
                     No. 77/646145 for Monster
                     Hooks dated July 30, 2014
                     filed by counsel for MEC
                     [MEC020844-MEC020905]
           1282      Patent & Trademark Office’s
                     TSDR printout for U.S. Serial
                     No. 87/295,990 for
                     MONSTER and U.S. Serial
                     No. 87/285,962 for the mark
                     MONSTER [MEC066058-
                     MEC06604]




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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           1283      A copy of the webpage:         Lacks
                     http://www.babcox.com/brand    Foundation;
                     -page/bodyshop-business/       Hearsay;
                     printed on March 26, 2018      Relevance
                     [MEC066172-MEC066175]
           1284      A copy of webpage:             Lacks
                     http://babcox.com/brand-       Foundation;
                     page/underhood-service         Hearsay;
                     printed on March 26, 2018      Relevance
                     [MEC066176-MEC066179]
           1286      March 21, 2013 Email from
                     webws to David Pentecost re
                     5-Hour Energy Drink is Now
                     Available fron Integrated
                     Supply Network
                     [ISNE00038974-
                     ISNE00038975]
           1287      September 9, 2013 Email from
                     Rich Hulden to David
                     Pentecost et al. re idea on
                     developing a letter logo for
                     Monster [ISNE00015298-
                     ISNE00015301]
           1288      March 16, 2016 Email from      Relevance
                     Don Barry to Bruce Weber re
                     NEW! AirCat Limited Edition
                     Killer Torque 1/2" Impace
                     from Integrated Supply
                     Network LLC
                     [ISNE00010167-
                     ISNE0010169]
           1290      August 1, 2016 Email from
                     Shelly Stoneman to Don Barry
                     re SEMA/AAPEX
                     [ISNE00056937-
                     ISNE00056938;
                     ISNE00072574]
           1291      December 28, 2016 Email
                     from Don Barry to Martey
                     Mcintyre re Costco
                     [ISNE00056536-
                     ISNE00056537]
           1294      Trademark search ordered by
                     Thomas Kautz on June 6,
                     2012, and completed on June
                     11, 2012 [GR_00001-
                     GR_00805]


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           1295      ISN’s Trademark Application
                     U.S. Serial No. 85/806622
                     filed on December 19, 2012
                     with the United States Patent
                     and Trademark Office
           1296      Notice of Opposition of
                     Trademark Application U.S.
                     Serial No. 85/806622 filed by
                     Monster Energy on June 16,
                     2014
           1297      Metadata Sheet for Poster for   Lacks
                     “Monster Snacks” using the      Foundation;
                     phrase “FEED THE BEAST          Relevance
           1298      A copy of website printouts
                     showing <www.monster-
                     tools.com> [MEC065511-
                     MEC065513]
           1299      September 21, 2015 email sent   Lacks
                     from Margarita Martin to        Foundation;
                     Bruce Weber re Tim's Early      Hearsay
                     Top Ten Steps 9-18-2015 -
                     Sep 21, 2015 [ISNE00227249-
                     ISNE00227251]
           1300      September, 2016 Monthly
                     Operating Review Narrative &
                     Strategic Priorities Review
                     [ISNE00075641-
                     ISNE00075707]
           1301      February 11, 2012 Email from    Lacks
                     Ryan Lujan to Tom Layug         Foundation
                     RE: Autzone and Dub –
                     attachment – Monster
                     AutoZone Opportunity
                     [MEC052434-MEC052444]
           1302      June 8, 2017 Email thread
                     from Steve Kowalke to Jill
                     Oppolo and Scott Pilkenton
                     RE Monster Beanie Options
                     [ISNE00065336-
                     ISNE00065337]
           1303      Tech’s Edge Plus – August 1-
                     31, 2013 [ISN001049-
                     ISN001072]
           1304      Tech’s Edge Plus – New
                     Product Supplement –
                     December 2015 [ISN001097-
                     ISN001112]

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           Ex. No.   Description
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           1305      Tech’s Edge Plus – January –
                     February 2016 [ISN001209-
                     ISN001356]
           1306      Tech’s Edge Plus – June 1-30,
                     2013 [ISN001381-
                     ISN001404]
           1307      Tech’s Edge Plus – September
                     1-30, 2013 [ISN002005-
                     ISN002028]
           1308      Tech’s Edge Plus – New
                     Product Supplement – May
                     2015 [ISN002061-
                     ISN002076]
           1311      ISN Organizational Chart
                     [ISN0027936]
           1312      September 25, 2015 Email          Lacks
                     from Bill Driscoll to Bruce       Foundation;
                     Weber re Agenda for 3:30pm        Relevance
                     ET call tomorrow
                     [ISNE00006306-308]
           1313      July 8, 2016 Email from Don
                     Barry to John Snowden et al.
                     re Monster Ideas
                     [ISNE00008677-
                     ISNE00008678]
           1314      Gear Wrench Buy One Get
                     MONSTER free promo sheet
                     [ISNE00011051-
                     ISNE00011052]
           1315      December 21, 2016 Email           Lacks
                     from Brian Wertheimer to          Foundation;
                     Steve Kowalke re Monster          Hearsay;
                     COB 400 mock-up                   Relevance
                     [ISNE00052533]
           1316      June 28, 2017 Email from          Lacks
                     Steve Kowalke to Tim Pate re:     Foundation;
                     FW: FW: $4M Returns Target        Relevance
                     by July 10th – Status as of 06-
                     27-17 [ISNE00058802-
                     ISNE00058806]
           1317      March 23, 2017 Email from
                     Don Barry to John Snowden,
                     et al., CC Steve Kowalke re:
                     Monster Law suit
                     [ISNE00064106]



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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           1318      April 11, 2013 Email thread      Lacks
                     from Scott Pilkenton to          Foundation
                     valeriea@isnweb.com re: ISN
                     Promotes Matt Rivera to
                     Director of Mobile Sales
                     [ISNE00073733-
                     ISNE00073734]
           1319      Screenshot of Monster Energy     Lacks
                     Facebook Timeline, Twitter,      Foundation;
                     & Instagram – January 26,        Hearsay
                     2016 [MEC000200-
                     MEC000240;
                     MEC000245-MEC000322;
                     MEC000323-MEC000356]
           1320      Monster Energy AMA
                     Supercross Sponsorship
                     Fulfillment report 2009
                     [MEC001906-MEC001909]
           1321      Promotional Poster for
                     OzzFest Tickets – 2007
                     [MEC002138]
           1322      Monster Energy Kawasaki Pit
                     Bike Giveaway – 2005
                     [MEC002165]
           1323      Reach Communications Group
                     Brochure – “Unveiling of the
                     First Advertiser-Imaged Train
                     of the Las Vegas Monorail”
                     [MEC002706-MEC002707]
           1324      Reach Communications Group
                     information on Las Vegas
                     Monorail – collection of press
                     clippings [MEC002708-
                     MEC002836]
           1325      Reach Communications Group
                     television monitoring report
                     for Monster Train
                     [MEC002837-MEC002878]
           1326      Reach Communications Group
                     - Internet Media Coverage
                     Monster Train [MEC002879-
                     MEC0023024]
           1327      Reach Communications Group
                     - Radio Media Coverage
                     Monster Train [MEC003025-
                     MEC0030027]


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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           1328      Hansen presentation – 2002-
                     2006 [MEC003032-
                     MEC003102]
           1331      Monster Energy 2009 Off
                     Premises POS Catalog
                     [MEC004463-MEC004574]
           1332      Monster Energy 2011 POS
                     Catalog [MEC004575-
                     MEC004622]
           1333      February 9, 2011, "Quick        Lacks
                     Learners," Matty Smith,         Foundation;
                     ESPN.com [MEC004831-            Hearsay
                     MEC004834]
           1334      Promotional Posters bearing
                     Monster's marks and trade
                     dress [MEC005432-
                     MEC005556;
                     MEC005557-MEC005604]
           1335      Cycle News magazine – 2010      Lacks
                     [MEC005724-MEC005795]           Foundation;
                                                     Hearsay
           1336      Sponsorship Agreement –
                     Monster Jam – January 12,
                     2012 [MEC060374-
                     MEC060394]
           1339      Promotional Poster for
                     Warped Tour 2008
                     [MEC009861]
           1340      Monster Energy 2003-2006
                     POS materials/Bevnet articles
                     [MEC009890-MEC01002]
           1342      Monster Energy 2009
                     Marketing brochure
                     [MEC012481]
           1343      Monster Energy Promo and
                     Sell Sheets - Race With Ricky
                     Carmichael [MEC012485;
                     MEC012486; MEC012487]
           1344      2008 Monster POS Catalog
                     Update [MEC012489]
           1345      Makita/Monster Carmichael
                     Hardhat Sticker [MEC012570]
           1346      Monster Energy Company
                     10K – 2002 [MEC012781-
                     MEC012865]

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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1347      Monster Energy Company
                     10K – 2003 [MEC012866-
                     MEC012954]
           1348      Monster Energy Company
                     10K – 2004 [MEC012955-
                     MEC013033]
           1349      Monster Energy Company
                     10K – 2005 [MEC013034-
                     MEC013135]
           1350      Monster Energy Company
                     10K – 2007 [MEC013245-
                     MEC013334]
           1351      Monster Energy Company
                     10K – 2008 [MEC013335-
                     MEC013428]
           1352      Monster Energy Company       Objection as to
                     10K – 2009 [MEC013429-       redactions to
                     MEC013536] [Redacted]        public
                                                  documents
           1353      Monster Energy Company       Objection as to
                     10K – 2010 [MEC013537-       redactions to
                     MEC013644] [Redacted]        public
                                                  documents
           1354      Monster Energy Company       Objection as to
                     10K – 2011 [MEC013645-       redactions to
                     MEC013753] [Redacted]        public
                                                  documents
           1355      Monster Energy Company       Objection as to
                     10K – 2012 [MEC013754-       redactions to
                     MEC013859] [Redacted]        public
                                                  documents
           1356      Monster Energy Company       Objection as to
                     10K – 2013 [MEC013860-       redactions to
                     MEC013964] [Redacted]        public
                                                  documents
           1357      Monster Energy Company       Objection as to
                     10K – 2014 [MEC013965-       redactions to
                     MEC014077] [Redacted]        public
                                                  documents




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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1358      Monster Energy Company       Objection as to
                     10K – 2015 [MEC014078-       redactions to
                     MEC014188] [Redacted]        public
                                                  documents
           1359      Monster Energy 2012 POS
                     Catalog [MEC016568-
                     MEC016620]
           1360      Monster Energy 2014 POS
                     Catalog [MEC016621-
                     MEC016684]
           1362      Monster Energy Extra
                     Strength Nitrous Technology
                     Catalog [MEC016698-
                     MEC016704]
           1363      Java Monster Catalog
                     [MEC016705-MEC016725]
           1365      Monster Energy 2016 POS
                     Catalog [MEC016731-
                     MEC016863]
           1366      Kyle Busch Motorsports       Lacks
                     Online store – Diecast Car – Foundation;
                     2015 [MEC017231-             Hearsay
                     MEC017232]
           1367      Fantasy Camp/Monster
                     Energy Edition KLX 140
                     Motorcycle giveaway
                     [MEC017286-MEC017287]
           1368      Trademark License
                     Agreement – HJC – January 1,
                     2011 [MEC017322-
                     MEC017338]
           1369      Trademark License
                     Agreement – Kawasaki Heavy
                     Industries – September 22,
                     2008 [MEC017339-
                     MEC017350]
           1370      Trademark License
                     Agreement – Speez Racing
                     LLC – January 1, 2011
                     [MEC017375-MEC017386]
           1371      Trademark License
                     Agreement – AGV S.P.A. –
                     February 2014 [MEC017387-
                     MEC017414]



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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1372      Trademark License
                     Agreement – Alpinestars –
                     April 1, 2013 [MEC017415-
                     MEC017441]
           1373      Trademark License
                     Agreement – American Tire
                     Distributors – June 12, 2013
                     [MEC017442-MEC017471]
           1374      Trademark License
                     Agreement – Bell Sports, Inc.
                     May 6, 2016 [MEC017472-
                     MEC017498]
           1375      Trademark License
                     Agreement – HJC America –
                     March 27, 2013
                     [MEC017499-MEC017573]
           1376      Trademark License
                     Agreement – SUOMY S.P.A.
                     – November 2011
                     [MEC017650-MEC017673]
           1377      Trademark License
                     Agreement – Troy Lee
                     Designs, Inc. – January 1,
                     2012 [MEC017674-
                     MEC017707]
           1378      Trademark License
                     Agreement – VR|46 –
                     February 8, 2013
                     [MEC017708-MEC017736]
           1379      Trademark License
                     Agreement – Fox Head, Inc. –
                     August 17, 2010
                     [MEC017737-MEC017755]
           1380      Trademark License
                     Agreement – Yamaha Motor
                     France – May 3, 2010
                     [MEC017756-MEC017760]
           1381      Promotion/Endorsement
                     Agreement – Brian Deegan –
                     October 24, 2002
                     [MEC017764-MEC017788]
           1382      Trademark License
                     Agreement – Bicycle Kid, Inc.
                     – January 1, 2011
                     [MEC017789-MEC017815]



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                                                           ISN’S
           Ex. No.   Description
                                                        Objections

           1383      Trademark License
                     Agreement – Black Box
                     Distribution, LLC – August 1,
                     2010 [MEC017816-
                     MEC017829]
           1384      Trademark License
                     Agreement – Famous Stars &
                     Straps, Inc. – January 12, 2010
                     [MEC017830-MEC017854]
           1385      Trademark License
                     Agreement – INA
                     International, LTD – April 12,
                     2010 [MEC017855-
                     MEC017878]
           1386      Trademark License
                     Agreement – Department of
                     Economic Development – Isle
                     of Man – November 1, 2010
                     [MEC017879-MEC017886]
           1387      Trademark License
                     Agreement – Jim O’Neal
                     Distributing, Inc. – May 3,
                     2010 [MEC017887-
                     MEC017894]
           1388      Trademark License
                     Agreement – JMJE, Inc. – July
                     9, 2009 [MEC017895-
                     MEC017922]
           1389      Trademark License
                     Agreement – La Jolla Sport,
                     USA – June 18, 2010
                     [MEC017923-MEC017965]
           1391      Trademark License
                     Agreement – One Industries –
                     August 4, 2009 [MEC017974-
                     MEC018008]
           1392      Trademark License
                     Agreement – Zumiez – June 1,
                     2010 [MEC018009-
                     MEC018024]
           1393      Monster Energy List of            Lacks
                     promotions from 2006-2012         Foundation
                     [MEC018031-MEC018044]
           1394      Drug Brand Rank 13 Weeks          Lacks
                     Ending 03/28/09                   Foundation;
                     [MEC031884-MEC031896]             Hearsay


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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           1395      Facebakers Statistics –        Lacks
                     Facebook Global Brand          Foundation;
                     Statistics 11/29/2010          Hearsay
                     [MEC001934-MEC001936]
           1396      Annual Results Trend 2002 –
                     YTD 5/31/2006
                     [MEC022031]
           1397      Annual Results Trend 2002 –
                     YTD 6/30/2009
                     [MEC022032]
           1398      Annual Results Trend/Sales
                     Report 2002 – 2006
                     [MEC022033-MEC022044]
           1400      2013 FIA Formula 1 World       Lacks
                     Championship REPUCOM           Foundation
                     End of Season Overview
                     [MEC022083-MEC022103]
           1401      2012 FIA Formula 1 World       Lacks
                     Championship End of Season     Foundation
                     Global TV Report
                     [MEC022104-MEC022134]
           1402      Trademark License
                     Agreement – 43 Racing –
                     March 11, 2010
                     [MEC022135-MEC022162]
           1403      Trademark License
                     Agreement – Alpinestars –
                     July 13, 2011 [MEC022163-
                     MEC022184]
           1405      Trademark License
                     Agreement – Castle Sales Co.
                     Inc. – July 9, 2009
                     [MEC022196-MEC022205]
           1406      Trademark License
                     Agreement – Castle Sales Co.
                     Inc. – September 28, 2007
                     [MEC022206-MEC022213]
           1407      Trademark License
                     Agreement – Digital Ink
                     Design and Graphics, Inc. –
                     January 1, 2010
                     [MEC022223-MEC022230]
           1408      Annual Results Trend/online
                     consumer promotion – 2002-
                     2008 [MEC022403-
                     MEC022404]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1409      ATD Royalty Check – 2014
                     [MEC022517-MEC022518]
           1410      Alpine Stars Royalty 4th
                     Quarter 2013 [MEC022519-
                     MEC022521]
           1411      Factory Effex Royalty report
                     for January-March 2014
                     [MEC022526-MEC022534]
           1412      Hobby Products Int. Royalty
                     q4 2013 [MEC022535-
                     MEC022536]
           1413      Hobby Products Int. Royalty
                     q1 – 2015 [MEC022537-
                     MEC022538]
           1414      ATD Royalty Check q2 2014
                     [MEC022539-MEC022540]
           1415      Factory Effex Royalty report
                     for Q2 2014 [MEC022541-
                     MEC022548]
           1416      AGV Royalty Report – Q2
                     2014 [MEC022549-
                     MEC022551]
           1417      ATD Royalty Check - Q3
                     2014 [MEC022553-
                     MEC022554]
           1418      Factory Effex Royalty report
                     for Q3 2014 [MEC022555-
                     MEC022562]
           1419      ATD Royalty Report – Q4
                     2014 [MEC022565-
                     MEC022567]
           1420      Factory Effex Royalty report
                     for Q4 2014 [MEC022571-
                     MEC022578]
           1421      Hobby Products Int. Royalty
                     Q1 2015 [MEC022581-
                     MEC022582]
           1422      ATD Royalty Check Q1 2015
                     [MEC022583-MEC022584]
           1423      Factory Effex/D’Cor Visuals
                     Royalty report for Q1 2015
                     [MEC022585-MEC022592]
           1424      D’Cor Visuals Royalty Report
                     Q1 – 2015 [MEC022593-
                     MEC022594]

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           1425      AGV Royalty Report –Q1
                     2015 [MEC022595-
                     MEC022599]
           1426      D’Cor Visuals Royalties 2014
                     [MEC022600-MEC022601]
           1427      D’Cor Visuals Royalty Check
                     – Q2 2015 [MEC022602-
                     MEC022603]
           1428      Factory Effex Royalty Report
                     Q2 2015 [MEC022604-
                     MEC022612]
           1429      Factory Effex Royalty Report
                     Q3 2015 [MEC022615-
                     MEC022622]
           1430      D’Cor Visuals Royalty Check
                     – Q3 2015 [MEC022623-
                     MEC022624]
           1431       January 1, 2014 Title
                     Sponsorship Agreement letter
                     – Kyle Bush Motors
                     [MEC023069]
           1432      First Amendment to Title
                     Sponsorship Agreement –
                     Kyle Busch Motorsports –
                     January 17, 2013
                     [MEC023070]
           1433      Sponsorship Exercise of
                     Option Year 2014 – Kyle
                     Busch Motorsports – 10-26-
                     2013 [MEC023071]
           1434      One Race Sponsorship – 2013
                     Camping World Truck Series
                     – KBM – August 6, 2013
                     [MEC023105-MEC023106]
           1435      January 7, 2013 Letter
                     regarding name change of
                     MEC – KBM agreement
                     [MEC023107]
           1436      Promotion/Endorsement
                     Agreement – Jorge Lorenzo,
                     January 1, 2015
                     [MEC023108-MEC023125]
           1437      Title Sponsorship Agreement
                     – Pro Circuit Racing, Inc.,
                     March 7, 2007 [MEC023159-
                     MEC023181]

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           Ex. No.   Description
                                                      Objections

           1438      Sponsorship Agreement –
                     Stewart Haas Racing LLC –
                     June , 2014 [MEC023182-
                     MEC023201]
           1439      Sponsorship Agreement –
                     Stewart Haas Racing LLC –
                     October 29, 2015
                     [MEC023222-MEC023257]
           1440      Title Sponsorship Agreement
                     – John Force Racing – April 1,
                     2015 [MEC023258-
                     MEC023312]
           1441      Title Sponsorship Agreement
                     – Pro Circuit Racing –
                     December 6, 2010
                     [MEC023313-MEC023338]
           1442      Title Sponsorship Agreement
                     – Pro Circuit – October 31,
                     2015 [MEC023339-
                     MEC023370]
           1443      Title Sponsorship Agreement
                     – Pro Circuit Racing –
                     December 1, 2013
                     [MEC023371-MEC023404]
           1444      Title Sponsorship Agreement
                     – Pro Circuit Racing – for
                     2005 season [MEC023405-
                     MEC023429]
           1446      Trademark License
                     Agreement – D’Cor Visuals –
                     January 1, 2014
                     [MEC023515-MEC023541]
           1447      Trademark License
                     Agreement – Hobby Products
                     Int. – November 4, 2010
                     [MEC023617-MEC023632]
           1448      Trademark License
                     Agreement – Hobby Products
                     Int. – January 1, 2013
                     [MEC023701-MEC023727]
           1449      Trademark License
                     Agreement – Hobby Products
                     Int. January 1, 2012
                     [MEC023752-MEC023775]




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           Ex. No.   Description
                                                     Objections

           1450      Images of MONSTER              Lacks
                     ENERGY licensed wheels for     Foundation
                     sale [MEC023776;
                     MEC024383]
           1451      November 3, 2015 Article,      Lacks
                     "Gittin Shows Off New          Foundation;
                     Competition 2016 Mustang       Hearsay
                     RTR Drift Car,"
                     performance.ford.com
                     [MEC024407-MEC024422]
           1452      August 27, 2012 Article,       Lacks
                     "Snap-on offers limited        Foundation;
                     edition tool storage units,"   Hearsay
                     moderntiredealer.com
                     [MEC024599-MEC024602]
           1453      Website screenshot -
                     store.nascar.com
                     [MEC024837-MEC024852]
           1454      August 15, 2012 Email from     Lacks
                     Neil Calvesbert to Sandra      Foundation
                     Djasran re KEN BLOCK
                     ANNOUNCES SIGNATURE
                     SNAP-ON TOOL BOXES
                     [MEC025414-MEC025417]
           1455      August 15, 2012 Email from     Lacks
                     Neil Calvesbert to Sandra      Foundation
                     Djasran re KEN BLOCK
                     ANNOUNCES SIGNATURE
                     SNAP-ON TOOL BOXES
                     [MEC025418-MEC025421]
           1456      August 15, 2012 Email from     Lacks
                     Neil Calvesbert to Sandra      Foundation
                     Djasran re KEN BLOCK
                     ANNOUNCES SIGNATURE
                     SNAP-ON TOOL BOXES
                     [MEC025422-MEC025425]
           1457      Monster Energy Company
                     Purchase order for Monster
                     Trailer Hitch Cover – 2017
                     [MEC025430]
           1458      T1: M Claw Hitch Cover
                     [MEC025442]
           1459      Monster Energy Brand
                     Marketing Plan 2011-2012
                     [MEC025444-MEC025459]
           1460      2016 Event Calendar
                     [MEC025559]

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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1461      Licensed product submission
                     form – Pro Circuit/Monster
                     Glove – Oct. 16, 2014
                     [MEC025561-MEC025562]
           1463      Licensing Proposal
                     Submission for Pro-Circuit
                     Gloves Jan 19, 2015
                     [MEC025574]
           1464-1    Licensed Product Submission
                     Forms – Factory Effex – Decal
                     kits – 2011 [MEC026167-
                     MEC026420]
           1464-2    Licensed Product Submission
                     Forms - Ben Spies
                     [MEC026421-MEC026514]
           1464-3    Licensed Product Submission
                     Forms - Associated Electrics
                     [MEC026515-MEC026522]
           1464-4    Licensed Product Submission
                     Forms - O’Neal[MEC026523-
                     MEC026529]
           1464-5    Licensed Product Submission
                     Forms - New
                     Ray[MEC026530-
                     MEC026538]
           1464-6    Licensed Product Submission
                     Forms - HPI[MEC026539-
                     MEC026548]
           1464-7    Licensed Product Submission
                     Forms - Dread Ltd.
                     [MEC026549-MEC026597]
           1465-1    Trademark License
                     Agreement – Jim O’Neal – -
                     Licensee submission forms –
                     Concept helmet, clothes,
                     gloves – July 1, 2009
                     [MEC026598-MEC026703]
           1465-2    Licensed Product Submission
                     Forms – Robby Gordon
                     [MEC026707-MEC026740]
           1465-3    Licensed Product Submission
                     Forms – Rockwell
                     [MEC026741-MEC026752]
           1465-4    Licensed Product Submission
                     Forms – Slednecks
                     [MEC026753-MEC026929]

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           1465-5    Licensed Product Submission
                     Forms – Spin Master Ltd.
                     [MEC026930-MEC026937]
           1465-6    Licensed Product Submission
                     Forms – Team Babbit’s
                     [MEC026938-MEC026945]
           1465-7    Licensed Product Submission
                     Forms – Zumiez, Inc.
                     [MEC026946-MEC026953]
           1472      Promotion/Endorsement
                     Agreement – Riley Herbst –
                     January 1, 2015
                     [MEC027582-MEC027596]
           1474      Trademark License
                     Agreement – Yamaha Motor
                     Company USA – March 1,
                     2012 [MEC031707-
                     MEC031730]
           1475      Sponsorship Agreement – Joe
                     Gibbs Racing Inc. – January 1,
                     2012 [MEC027597-
                     MEC027614]
           1476      Sponsorship/Promotion/Endor
                     sement Agreement – Richard
                     Petty Motorsports – NASCAR
                     Sprint Cup Series – January 1,
                     2015 [MEC027615-
                     MEC027640]
           1477      Sponsorship/Promotion/Endor
                     sement Agreement – Richard
                     Petty Motorsports (Nascar) –
                     January 1, 2016
                     [MEC027641-MEC027668]
           1478      Promotion/Endorsement
                     Agreement – Boris Said –
                     Nascar – January 1, 2015
                     [MEC027669-MEC027683]
           1479      Personal Services Agreement
                     – Samuel J. Hornish, Jr. –
                     NASCAR (promoting
                     Monster) [MEC027684-
                     MEC027700]
           1480      Sponsorship Agreement –
                     Turner Motor Sports, LLC –
                     February 3, 2010
                     [MEC027701-MEC027720]


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                                                       ISN’S
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                                                    Objections

           1481      Monster Energy 2013 Game
                     Plan presentation
                     [MEC027806-MEC028154]
           1482      Facebook Screenshot Snap On   Lacks
                     Tools Troutdale – selling     Foundation;
                     MEC beverages                 Hearsay
                     [MEC028174; MEC028175-
                     MEC028214]
           1484      Trademark License
                     Agreement – Slednecks –
                     April 1, 2008 [MEC031641-
                     MEC031651]
           1486      Title Sponsorship Agreement
                     – Pro Circuit Racing –
                     December 1, 2011 [
                     MEC039221-MEC039246]
           1487-1    Licensed Product Submission
                     Forms - VR46 [MEC028977-
                     MEC029136]
           1487-2    Licensed Product Submission   Lacks
                     Forms – Isle of Mann          Foundation;
                     [MEC029137-MEC029251]         Hearsay
           1487-3    Licensed Product Submission   Lacks
                     Forms – Suomy                 Foundation;
                     [MEC029252-MEC029268]         Hearsay
           1487-4    Licensed Product Submission   Lacks
                     Forms – Tucker Hibbert        Foundation;
                     [MEC029269-MEC029291]         Hearsay
           1487-5    Licensed Product Submission   Lacks
                     Forms – Troy Lee Designs      Foundation;
                     [MEC029292-MEC029298]         Hearsay
           1487-6    Licensed Product Submission   Lacks
                     Forms – Clinton Enterprises   Foundation;
                     [MEC029299-MEC029423]         Hearsay
           1487-7    Licensed Product Submission   Lacks
                     Forms – TIS Industries        Foundation;
                     [MEC029424-MEC029436]         Hearsay
           1489      Action Sports presentation
                     [MEC031285-MEC031351]
           1490      MotoGP TV Audience Data       Lacks
                     [MEC031380-MEC031410]         Foundation;
                                                   Hearsay

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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           1491      C&G Brand Rank 13 Weeks       Lacks
                     Ending 03/28/09               Foundation;
                     [MEC031742-MEC031773]         Hearsay
           1492      Grocery Brand Rank 13         Lacks
                     Weeks Ending 03/28/09         Foundation;
                     [MEC031930-MEC031985]         Hearsay
           1493      C&G Brand Rank 13 Weeks       Lacks
                     Ending 06/27/09               Foundation;
                     [MEC032210-MEC032241]         Hearsay
           1494      Drug Brand Rank 13 Weeks      Lacks
                     Ending 06/27/09               Foundation;
                     [MEC032372-MEC032384]         Hearsay
           1495      Grocery Brand Rank 13         Lacks
                     Weeks Ending 06/27/09         Foundation;
                     [MEC032443-MEC032498]         Hearsay
           1496      C&G Brand Rank 13 Weeks       Lacks
                     Ending 09/26/09               Foundation;
                     [MEC032956-MEC032987]         Hearsay
           1497      Drug Brand Rank 13 Weeks      Lacks
                     Ending 09/26/09               Foundation;
                     [MEC033191-MEC033203]         Hearsay
           1498      Grocery Brand Rank 13         Lacks
                     Weeks Ending 09/26/09         Foundation;
                     [MEC033263-MEC033318]         Hearsay
           1499      Social bakers – Facebook      Lacks
                     Page statistics [MEC033992-   Foundation;
                     MEC033995]                    Hearsay
           1500      2010 SEMA Show - Activity
                     Sponsorship Agreement
                     Terms and Conditions
                     [MEC039886-MEC039893]
           1501      Television Sponsorship
                     Agreement – January 1, 2015
                     – SCOR INTERNATIONAL
                     [MEC039915-MEC039925]
           1502      2012-2017 Event Calendar
                     [MEC039937-MEC039999]
           1503      Marketing Collateral for
                     Monster Energy Edition Logo
                     [MEC040004-MEC040018]

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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1504      Fox Head Royalty Payment –
                     Q1 2012 [MEC040028]
           1505      One Industries Royalty
                     Payment – Q1 2012
                     [MEC040029]
           1506      One Industries Royalty
                     Payment – Q2 2012
                     [MEC040031]
           1507      One Industries Royalty
                     Payment – Q4 2011
                     [MEC040035]
           1508      One Industries Royalty
                     Payment – Q3 2009
                     [MEC040041]
           1509      One Industries Royalty
                     Payment – Q4 2009
                     [MEC040045]
           1510      One Industries Royalty
                     Payment – Q1 2010
                     [MEC040047]
           1511      43 Racing Royalty Payment –
                     6/8/2010 [MEC040049]
           1512      One Industries Royalty
                     Payment – Q2 2010
                     [MEC040051]
           1513      Slednecks August 2010
                     Royalty [MEC040054]
           1514      Slednecks July 2010 Royalty
                     [MEC040055]
           1515      One Industries Royalty
                     Payment – Q3 2010
                     [MEC040057]
           1516      Fox Head Royalty – Q1/Q2
                     2011 [MEC040061]
           1517      One Industries Q1 2011
                     Royalty Payment
                     [MEC040064]
           1518      One Industries Q2 2011
                     Royalty Payment
                     [MEC040067]
           1519      Fox Head Royalty Q2 2011
                     [MEC040068]
           1520      Fox Head Royalty Q3 2011
                     [MEC040071]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1521      Slednecks Royalty 8/2011
                     [MEC040072]
           1522      Slednecks Royalty 10/2011
                     [MEC040075]
           1523      Slednecks Royalty Q4 2009
                     [MEC040138-MEC040139]
           1524      Slednecks Royalty Q1 2010
                     [MEC040141-MEC040142]
           1525      Slednecks Royalty Q2 2010
                     [MEC040146-MEC040147]
           1526      Slednecks Product Royalty
                     Report – July 2010
                     [MEC040148-MEC040151]
           1527      Slednecks Product Royalty
                     Report – August 2010
                     [MEC040152-MEC040156]
           1528      Slednecks Product Royalty
                     Report – September 2010
                     [MEC040157-MEC040162]
           1529      Product Royalties Slednecks
                     January-March 2011
                     [MEC040167]
           1530      Product Royalties Slednecks
                     April-June 2011
                     [MEC040168]
           1531      Slednecks Product Royalties
                     Report – August 2011
                     [MEC040169-MEC040173]
           1532      Slednecks Product Royalties
                     Report – September 2011
                     [MEC040174-MEC040178]
           1533      Slednecks Product Royalties
                     Report – October 2011
                     [MEC040179-MEC040186]
           1534      Slednecks Product Royalties
                     Report – November 2011
                     [MEC040187-MEC040193]
           1535      Slednecks Product Royalties
                     Report – January –March
                     2012 [MEC040194-
                     MEC040201]
           1536      Slednecks Product Royalties
                     Report – April – June 2012
                     [MEC040202-MEC040205]


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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1537      Zumiez Royalties Q2 – 2010
                     [MEC040206]
           1538      Zumiez Royalty Report –
                     January – March 2011
                     [MEC040207]
           1539      Zumiez Royalty Report – Q1
                     2011 [MEC040208]
           1540      Zumiez Royalty Report – Q4 –
                     dated 4/7/2011 [MEC040209]
           1541      43 Racing Royalty Statement
                     – Q1 & Q2 2010
                     [MEC040210-MEC040213]
           1542      43 Racing Royalty Statement
                     – Q3 2010 [MEC040214-
                     MEC040220]
           1543      43 Racing Royalty Payment
                     Detail – 6/15/2010
                     [MEC040222]
           1544      43 Racing Royalty Statement
                     Q1 2011 [MEC040223-
                     MEC040239]
           1545      43 Racing Royalty Statement
                     Q2 2011 [MEC040240-
                     MEC040253]
           1546      Alpine Stars Royalty Report –
                     Q4 2013 [MEC040259-
                     MEC040261]
           1547      Alpinestars Royalty Report –
                     Q1 2014 [MEC040262-
                     MEC040264]
           1548      Alpinestars Royalty Report Q3
                     2014 [MEC040265-
                     MEC040269]
           1549      Castle Sales company –
                     Royalties 2009-2010
                     [MEC040273-MEC040275]
           1550      Castle Sales Company –
                     Royalties 2010-2011
                     [MEC040276-MEC040277]
           1551      Fox Head Royalties Payment
                     – 2010 [MEC040280-
                     MEC040285]
           1552      Fox Head Royalties Payment
                     – January – March 2011
                     [MEC040286-MEC040290]

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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1553      Fox Head Royalties Payment
                     – Q2 2011 [MEC040291-
                     MEC040300]
           1554      Fox Head Royalties Payment
                     – Q3 2011 [MEC040301-
                     MEC040305]
           1555      Fox Head Royalties Payment
                     – Q4 2011 [MEC040306-
                     MEC040310]
           1556      Fox Head Royalties Payment
                     – Q1 2012 [MEC040311-
                     MEC040316]
           1557      One Industries Royalty Report
                     – Q3 2009 [MEC040317-
                     MEC040378]
           1558      One Industries Royalty Report
                     – Q4 2009 [MEC040379-
                     MEC040486]
           1559      One Industries Royalty Report
                     – Q1 2010 [MEC040487-
                     MEC040575]
           1560      One Industries Royalty Report
                     Q2 2010 [MEC040576-
                     MEC040888]
           1561      One Industries Royalty Report
                     – July 1, 2010-Sept. 30, 2010
                     [MEC040889-MEC041113]
           1562      One Industries Royalty Report
                     – Q2 2011 [MEC041453-
                     MEC041552]
           1563      One Industries Royalty Report
                     – Q4 2011 [MEC041553-
                     MEC041659]
           1564      April 16, 2012 Email from     Lacks
                     Pierce Flynn to Sam Pontrelli Foundation
                     et al. re MONSTER
                     ENERGY_ANAHEIM
                     Monster Energy DUB
                     Show_Sponsor Media
                     Impressions ROI
                     Recap_Monster Energy DUB
                     Tour_March 25, 2012
                     [MEC051465-MEC051486]
           1565      2010 Premium Shipments
                     [MEC044732-MEC044740]


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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           1566      2011 Premium Shipments
                     [MEC045100-MEC045110]
           1567      Summary of Key Inventory
                     Transactions – 2003
                     [MEC045164]
           1568      Summary of Key Inventory
                     Transactions – 2004
                     [MEC045265-MEC045266]
           1569      Summary of Key Inventory
                     Transactions – 2005
                     [MEC045509-MEC045510]
           1570      Summary of Key Inventory
                     Transactions – 2006
                     [MEC045810-MEC045812]
           1571      Summary of Key Inventory
                     Transactions – 2007
                     [MEC046307-MEC046309]
           1572      Summary of Key Inventory
                     Transactions – 2008
                     [MEC046666-MEC046677]
           1573      Summary of Key Inventory
                     Transactions – 2009
                     [MEC047134-MEC047149]
           1577      January 30, 2017 Article, "Ask Lacks
                     the Mechanics | Favorite Tool Foundation;
                     and Why?",                     Hearsay
                     motocross.transworld.net
                     [MEC048904-MEC048914]
           1578      October 13, 2011 Email from
                     Ryan Lujan to Liliana
                     Cardenas re off road shots
                     [MEC049733-MEC049737]
           1579      March 12, 2016 Email from
                     Larry Chen to Matt Chapman,
                     Haley Proulx and Stephanie
                     Herrera re Mint 400 Daily
                     Updates [MEC049772-
                     MEC049782]
           1580      2016 Q1 team meeting –
                     discussing promotions and
                     marketing channels including
                     on premise locations
                     [MEC049833-MEC049856]




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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1581      March 17, 2015 Email from
                     Larry Chen to Chris Nichols et
                     al. attaching Photographs and
                     Press Release Mint 400 – 2015
                     [MEC049924-MEC049941]
           1582      November 20, 2013 Email
                     from Andrea Ramos to Aaron
                     Quesada attaching 2014
                     Monster Events Calendar
                     [MEC050073-MEC050096]
           1583      July 8, 2013 Email from
                     Andrea Ramos to Neil
                     Calvesbert attaching 2012
                     Motorsports event Calendar
                     [MEC050097-MEC050098]
           1584      July 1, 2013 email from
                     Andrea Ramos to Liliana
                     Cardenas attaching 2013
                     Motorsports Calendar
                     [MEC050100-MEC050101]
           1585      March 30, 2012 Email from
                     Pat Schutte to Eric Johnson et
                     al. attaching 2012 Motorsports
                     images and Weekend Wrap
                     Up [MEC050331-MEC50366]
           1586      December 29, 2011 Email
                     from Eric Johnson to Bruce
                     Stjernstrom et al. attaching
                     2011 Motorsports event
                     calendar [MEC050376;
                     MEC050377]
           1587      June 4, 2009 Email from Eric
                     Morely to Vipe Desai and
                     Michael Vicente re BF
                     Goodrich Opportunities
                     [MEC050630]
           1588      2007 Monster Energy SEMA Relevance;
                     Bash Cooperative Opportunity Lacks
                     presentation [MEC050638-       Foundation
                     MEC050647;
                     MEC050651-MEC050660;
                     MEC050661-MEC050670;
                     MEC050671-MEC050680]
           1589      May 10, 2012 Email from Patt
                     Schutte to Eric Johnson and
                     Chris Nichols re Monster
                     Wrap 10 2 of 2 [MEC050706-
                     MEC050733]

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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           1590      May 10, 2012 Email from Patt
                     Schutte to Eric Johnson and
                     Chris Nichols re Monster
                     Wrap 10 one of two
                     [MEC050735-MEC050776]
           1591      May 10, 2011 Email from Patt
                     Schutte to Eric Johnson and
                     Chris Nichols re Monster May
                     10 Wrap (first of two emails)
                     [MEC050778-MEC50811]
           1592      December 5, 2011 Email from     Lacks
                     LeRoy Nichols to Chris          Foundation;
                     Nichols re FW: MONSTER          Hearsay
                     ENERGY_LAS
                     VEGAS/SEMA DUB
                     Show/DUB EXPO
                     Party/Snoop Dagg_Sponsor
                     Media Impressions
                     Report_Monster Energy DUB
                     Show Tour Presented by
                     Ford_November 1-4, 2011
                     [MEC050889-MEC050896]
           1593      DUB EXPO Las Vegas | VIP        Lacks
                     Social, Photographs of SEMA     Foundation;
                     2011 [MEC050897;                Hearsay
                     MEC050898; MEC050899;
                     MEC050900; MEC050901;
                     MEC050902; MEC050903;
                     MEC050904; MEC050905]
           1594      November 8, 2011 Email from     Lacks
                     Ramses Perez to Mitch           Foundation;
                     Covington, Bruce Stjernstrom,   Hearsay
                     and Mark Hall – BJ SEMA TT
                     photos [MEC050909]
           1595      Photo of BJ SEMA TT from
                     2011 SEMA [MEC050910;
                     MEC050911]
           1596      December 10, 2010 Email         Lacks
                     thread from Pierce Flynn to     Foundation;
                     Sam Pontrelli, et al. re        Hearsay
                     MONSTER
                     ENERGY/MEDIA
                     IMPRESSIONS_ LAS
                     VEGAS/SEMA Monster
                     Energy DUB Show Tour
                     Presented by Ford_November
                     2-5, 2010 [MEC050971-
                     MEC050983]

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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           1597      November 11, 2010 email          Lacks
                     thread from Michael Vincente     Foundation
                     to Jamie Allison et al. RE:
                     SEMA Show [MEC051002-
                     MEC051004]
           1598      November 10, 2010 email          Lacks
                     from Terri Sacks to Ramses       Foundation
                     Perez re Monster Vegas
                     SEMA Slide Show
                     [MEC051010]
           1599      November 5, 2010 Email from      Lacks
                     Eric Johnson to Chris Nichols    Foundation
                     re Monster SEMA Photos
                     [MEC051012; MEC051013;
                     MEC051014; MEC051015;
                     MEC051016; MEC051017;
                     MEC051018; MEC051019;
                     MEC051020; MEC051021]
           1600      November 5, 2010 Email from      Lacks
                     Eric Johnson to Chris Nichols    Foundation
                     re Monster SEMA Photos
                     [MEC051022]
           1601      November 5, 2010 Email from      Lacks
                     Eric Johnson to Chris Nichols    Foundation
                     re SEMA HERO PROOF
                     [MEC051023-MEC051024]
           1602      November 4, 2010 email from      Lacks
                     Eric Johnson to Chris Nichols,   Foundation;
                     Alex Dunstan, LeRoy Nichols      Hearsay
                     re Monster SEMA Photos
                     [MEC051027-MEC051028;
                     MEC051029; MEC051030;
                     MEC051031; MEC051032;
                     MEC051033; MEC051034]
           1603      November 4, 2010 – Email         Lacks
                     from Pat Schutte to Eric         Foundation;
                     Johnson, Jacob Agajanian,        Hearsay
                     Chris Nichols, Leroy Nichols
                     re Vaughn Gittin Jr. reports
                     for Monster from SEMA!
                     [MEC051035-MEC051036;
                     MEC051037-MEC051038]




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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           1604      October 27, 2010 Email from     Lacks
                     Kevin Keling to Robert Scott,   Foundation
                     Michael Vicente and Ramses
                     Perez re SEMA info
                     [MEC051050; MEC051051;
                     MEC051052-53;
                     MEC051054]
           1605      October 25, 2010 Email from     Lacks
                     Ken Regalado to Robert Scott    Foundation
                     re Ken Block's Schedule -
                     Response Required and
                     PARTY INVITE RESEND
                     [MEC051065-MEC051068;
                     MEC051070]
           1606      October 21, 2010 Email from     Lacks
                     Ken Regalado to Michael         Foundation
                     Vicente re Passport & Jersey
                     Barrier Artwork
                     [MEC051093-MEC051098]
           1607      SEMA 2010 Passport              Lacks
                     [MEC051099]                     Foundation
           1608      SEMA 2010 Jersey Barrier        Lacks
                     Signage and placement for       Foundation
                     Ford Out Front event
                     [MEC051100-MEC051101]
           1609      October 19, 2010 Email from     Lacks
                     Ken Regalado to Michael         Foundation
                     Vicente Re: FW: SEMA
                     Demos [MEC051125-
                     MEC051129;]
           1610      SEMA 2010 Ford Out Front        Lacks
                     Pocket Guide [MEC051131]        Foundation
           1611      October 18, 2010 Email from     Lacks
                     Kevin Keling to Denby Scott     Foundation
                     et al. re SEMA demos
                     [MEC051140-MEC051141;
                     MEC051142; MEC051143;
                     MEC051144; MEC051145]
           1612      October 13, 2010 Email from     Lacks
                     Michael Vicente to Elysha       Foundation
                     McMurty Artwork Approval
                     & Signed Contract
                     [MEC051158-MEC051159;
                     MEC051160; MEC051161]



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                                                            ISN’S
           Ex. No.   Description
                                                         Objections

           1613      October 13, 2010 email from        Lacks
                     Robert Scott to Michael            Foundation
                     Vicente and Bruce Stjernstrom
                     re Latest SEMA Outdoor Plan
                     [MEC051163; MEC051164]
           1614      SEMA 2010 Brochure: Ride           Lacks
                     With the Best – “Ken Block         Foundation
                     and Vaughn Gittin Jr, invite
                     you to experience Gymkhana
                     and drifting at 'Ford out Front'
                     fueled by Monster Energy”
                     [MEC051196]
           1615      September 3, 2010 Email from       Lacks
                     Kevin Keling to Michael            Foundation
                     Vicente et al. re SEMA!
                     [MEC051229-MEC051234]
           1616      July 22, 2016 Email from           Lacks
                     Adrian Puente to Matt              Foundation
                     Chapman re FWD: BJ Baja
                     500 Toyo / Proofs
                     [MEC051241-MEC051250]
           1617      November 6, 2013 Email from        Lacks
                     Ryan Lujan to Jennifer             Foundation
                     Guerra, Colby Miller and
                     Steven Fife re: Cancelled:
                     Weekly Monster Energy/DUB
                     Call [MEC051341-
                     MEC051344]
           1618      January 16, 2007 Email from
                     Sam Pontrelli to Monster
                     Regional Managers re 2007
                     Monster Energy Racing
                     Pitside Hospitality Area
                     Reservation Form and
                     Background
                     Information on the Kenny
                     Bernstein Monster Energy
                     Racing Team [MEC051365-
                     MEC051372]
           1619      July 8, 2008 Email from Joe
                     Parsons to Sam Pontrelli,
                     Mark Hall, John Lee re New
                     Robby Gordon Ad from Toyo
                     Tires [MEC051489-
                     MEC051490]




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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           1620      Monster Energy Promotional
                     Platforms – Monster
                     AutoZone Opportunity
                     [MEC052437-MEC052444]
           1621      2012 Monster Energy DUB       Lacks
                     Expo VIP Social Sponsorship   Foundation
                     Opportunities presentation
                     [MEC052689-MEC052701]
           1622      Monster Army Twitter page     Lacks
                     printout [MEC053801-          Foundation;
                     MEC054228]                    Hearsay
           1623      Application 86/371708 –
                     MONSTER MOBILE
                     [MEC057372-MEC057403]
           1624      Application 86/371697 –
                     MONSTER with design
                     [MEC057404-MEC057444]
           1625      Application 86/371682 –
                     MONSTER MOBILE
                     [MEC057445-MEC057485]
           1626      Application 86/371755 –
                     MONSTER MOBILE
                     [MEC057486-MEC057521]
           1627      Application 86/371761 –
                     MONSTER MOBILE
                     [MEC057522-MEC057556]
           1628      Application 87/285915 –
                     MONSTER stylized
                     [MEC057662-MEC057676]
           1629      Application 87/285962 -
                     MONSTER (green)
                     [MEC057677-MEC057729]
           1630      Application 87/285990 –
                     MONSTER [MEC057730-
                     MEC057872]
           1631      Application 86/371705 –
                     MONSTER MOBILE
                     [MEC057873-MEC057908]
           1632      Application 86/371688 –
                     MONSTER MOBILE
                     [MEC057909-MEC057928]
           1633      Application 86/371672 –
                     MONSTER MOBILE
                     [MEC057929-MEC057945]


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                                                         ISN’S
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                                                      Objections

           1635      August 6, 2017 Viewership       Lacks
                     Data, Monster Energy Grand      Foundation;
                     Prix Czech Republic             Hearsay
                     [MEC059116-MEC059134]
           1636      Monster Energy Feld FIM         Lacks
                     World Championships             Foundation;
                     Sponsorship Report              Hearsay
                     [MEC059135-MEC059166]
           1637      Monster Energy AMA              Lacks
                     Supercross 2014 Fulfillment     Foundation;
                     Report [MEC059167-              Hearsay
                     MEC059210]
           1638      October 30, 2017 Email from     Lacks
                     Eric Johnson to Mitch           Foundation;
                     Covington re FW: Nielsen        Hearsay
                     Sports-overview 2016
                     [MEC059211-MEC059213]
           1639      Monster Energy Cup 2015         Lacks
                     Fulfilment report               Foundation;
                     [MEC059214-MEC059241]           Hearsay
           1640      AMSOIL ArenaCross 2014          Lacks
                     press release and sponsor       Foundation;
                     entitlements/benefits           Hearsay
                     [MEC059242-MEC059253]
           1641      AMSOIL Arenacross               Lacks
                     featuring Ricky Carmichael’s    Foundation;
                     Road to Supercross 2015         Hearsay
                     Fulfillment Report
                     [MEC059254-MEC059277]
           1642      2017 Audience Data MotoGP       Lacks
                     [MEC059278-MEC059374]           Foundation;
                                                     Hearsay
           1643      Viewership Data Monster         Lacks
                     Energy Gran Premi Monster       Foundation;
                     Energy de Catalunya             Hearsay
                     [MEC059375-MEC059393]
           1645      Cycle news and Racer X          Lacks
                     excerpts, CycleNews, Issue 32   Foundation;
                     [MEC059940-MEC060011]           Hearsay
           1646      Wayback Screenshot from         Lacks
                     January 11, 2006 – “Monster     Foundation;
                     Energy Drink announces          Hearsay
                     partnership with Wide open
                     Baja for 2005” [MEC060020]


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                                                          ISN’S
           Ex. No.   Description
                                                       Objections

           1647      Wayback Screenshot from          Lacks
                     January 11, 2006 – “Monster      Foundation;
                     Energy Drink Announces           Hearsay
                     Score Trophy Truck
                     Sponsorship of Alan Pflueger”
                     [MEC060094]
           1648      NASCAR Entitlement
                     Sponsorship Agreement –
                     January 1, 2017
                     [MEC060156-MEC060237]
           1649      Sponsorship Agreement –
                     Monster Jam – May 16, 2016
                     [MEC060395-MEC060416]
           1650      Monster Brand, Annual
                     Results Trend 2013-2016
                     [MEC060417]
           1660      2013 POS Catalog Excerpts
                     [MEC063177-MEC063228]
           1661      2015 POS Monster Catalog
                     Excerpts [MEC063368-
                     MEC063433]
           1662      April 2007 Article, “Return of   Lacks
                     the King” Kenny Bernstein,       Foundation;
                     Racer Magazine                   Hearsay
                     [MEC063704-MEC063707]
           1663      December 18, 2017 KBR            Lacks
                     Media Report to Monster          Foundation;
                     Energy/Lucas Oil Funny Car       Hearsay
                     Backers re Kenny Bernstein
                     [MEC063708-MEC063924]
           1664      March 28, 2012 Email from        Lacks
                     Renold Aparicio to Robert        Foundation
                     Maggi and Matt Wheat re
                     Non-Traditional Store List
                     [MEC064086]
           1665      Non-Traditional Store List –     Lacks
                     Excel – Home Depo/Autozone       Foundation
                     [MEC064087]
           1666      March 28, 2012 Email from        Lacks
                     Renold Aparicio to Abel          Foundation
                     Casanova et al. re Non-
                     Traditional Store List – West
                     Region [MEC064145]
           1667      Non-Traditonal Store List –      Lacks
                     Excel – West Region – Home       Foundation
                     Depot/Autozone
                     [MEC064146]

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                                                            ISN’S
           Ex. No.   Description
                                                         Objections

           1668      October 21, 2011 Email from        Lacks
                     Phillip Farnsworth to Dylan        Foundation
                     Spencer re West Coast Store
                     List [MEC064170]
           1669      Excel File:                        Lacks
                     Westcoaststorelist.xlsx            Foundation
                     [MEC064171]
           1670      Screenshot of BSC Tools            Lacks
                     facebook page – showing Go         Foundation;
                     Fast Energy drink                  Hearsay
                     [MEC064271; MEC064282]
           1671      Screenshot from BSC Tools          Lacks
                     Facebook Page showing              Foundation;
                     Matco Drag Racer                   Hearsay
                     [MEC064272]
           1672      BSC Tools Facebook post            Lacks
                     showing Monster Energy             Foundation;
                     Drinks in cooler for sale          Hearsay
                     [MEC064275]
           1673      2006 Monster Energy
                     Kawasaki Pro Circuit Pit Pass,
                     photographs, rider stats, and
                     press releases [MEC064285-
                     MEC064327]
           1674      Photographs of Pflueger desert
                     racing team and proofs and
                     invoices for licensed shirts and
                     clothing [MEC064328-
                     MEC064388]
           1675      Photographs, press releases,
                     and media coverage from Baja
                     2006 [MEC064389-
                     MEC064473]
           1676      Photographs, press releases,
                     and licensed product invoices
                     Baja 1000 2006 [MEC064474-
                     MEC064500]
           1677      Website printouts showing          Lacks
                     Ken Block Tool Chest               Foundation
                     [MEC064501; MEC064502;
                     MEC064504; MEC064505;
                     MEC064512; MEC064513]
           1679      February 8, 2014 MXA Pit           Lacks
                     Pass: San Diego Supercross         Foundation;
                     Pit Pics,                          Hearsay
                     motocrossactionmag.com
                     [MEC064661-MEC064684]

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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           1680      Photos of Monster Energy
                     Kawasaki Dixon Race Team
                     [MEC064685; MEC064686;
                     MEC064687]
           1681      January 22, 2015 Article,     Lacks
                     "Ingersol Rand Becomes        Foundation;
                     'Official Power Tools of      Hearsay
                     Nascar and IMSA,'"
                     NASCAR.com [MEC064688-
                     MEC064689]
           1682      Monster Energy AMA            Lacks
                     Supercross 2010 Sponsorship   Foundation;
                     Fulfillment Report            Hearsay
                     [MEC064690-MEC064775]
           1683      February 9, 2011 Article,     Lacks
                     "Newest Tool Brand            Foundation;
                     Sponsorships and              Hearsay
                     Partnerships," toolguyd.com
                     [MEC064776-MEC064784]
           1684      October 4, 2012 Article,      Lacks
                     “Monster Energy Kawasaki      Foundation;
                     Team Green Gearing up for     Hearsay
                     2013,” Dirtrider
                     [MEC064785-MEC064793]
           1685      Brand Partners, For Those     Lacks
                     Who Make the World ….         Foundation;
                     Perfom,                       Hearsay
                     stanleyblackanddecker.com/w
                     ho-we-are [MEC064807-
                     MEC064832]
           1686      Article, "Most Valuable Pit   Lacks
                     Crew Presented by Mechanix    Foundation;
                     Wear," nascar.com             Hearsay
                     [MEC064838-MEC064839]
           1687      Article, "Sports Marketing:   Lacks
                     How Makita Uses Soccer and    Foundation;
                     Racing to Engage its          Hearsay
                     Customer Base," Portada
                     [MEC064870-MEC064881]
           1688      Screenshot of Cruz Pedregon   Lacks
                     page [MEC064889-              Foundation;
                     MEC064891]                    Hearsay
           1689      Frequently Asked Questions    Lacks
                     Mac Tools – “How do I get     Foundation;
                     Mac to Sponsor My Team or     Hearsay
                     Race Car” [MEC064892]


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                                                           ISN’S
           Ex. No.   Description
                                                        Objections

           1690      Dragster - Anton Brown            Lacks
                     Racing [MEC064916-                Foundation
                     MEC064920]
           1691      October 29, 2016 Article,         Lacks
                     "Matco Tools, Don                 Foundation;
                     Shumacher Racing extend           Hearsay
                     marketing partnership,"
                     NHRA [MEC064921-
                     MEC064922]
           1692      Franchise Programs, Matco         Lacks
                     Tools, matcotools.com             Foundation;
                     [MEC064935-MEC064938]             Hearsay
           1693      June 15, 2001 Article, "Mac       Lacks
                     Tools Becomes Initial Sponsor     Foundation;
                     of Prestigious U.S. Nationals     Hearsay
                     at Indianapolis Raceway
                     Park," motosport.com
                     [MEC064983-MEC064986]
           1694      Printouts of posters and social
                     media posts regarding rock
                     concerts and music event
                     sponsorship [MEC065251-
                     MEC065474]
           1695      ISN’s MONSTER only marks
                     [MEC066058-MEC066061;
                     MEC066062-MEC066064]
           1696      Monster Energy Company
                     10K – 2006 [MEC-13136-
                     MEC013244]
           1697      Monster Energy Company,
                     Support for Monster
                     Trademark - Apparel,
                     Summary of Key Inventory
                     Transactions – 2002
                     [MEC045135]
           1698      SEMA 2010 Ford Out Front          Lacks
                     Directory [MEC051130]             Foundation
           1699      Ford SEMA Key Activities          Lacks
                     list – 2010 [MEC051051]           Foundation
           1700      Trademark License
                     Agreement – Pro Circuit
                     Products – January 1, 2016
                     [MEC039541-MEC039574]



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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1703      March 9, 2012 Email from
                     Edward Redstreake to Isabelle
                     Wininger re Mountain
                     Monster Shirt Promo Forms
                     [ISNE00009873-
                     ISNE00009875]
           1704      December 5, 2016 Email from Lacks
                     Jody Sause to Tim Martin re    Foundation
                     Monster Innovation Survey
                     [ISNE00065347;
                     ISNE00015660 –
                     ISNE00015662]
           1705      June 28, 2017 Email from
                     David Pentecost to Chad
                     Myers re Preview Message -
                     Rich Text - Hot New Monster
                     Tools in Stock Now from
                     Integrated Supply Network
                     [ISNE00025552-
                     ISNE00025554]
           1706      July 6, 2017 Email from
                     David Pentecost to Tim Pate
                     and Shelly Stoneman re Is this
                     OK? Monster Pricing for July
                     August from Integrated
                     Supply Network
                     [ISNE00024505-
                     ISNE00024506]
           1707      September 28, 2010
                     Complaint for Damages and
                     Injunctive Relief, 6:10-cv-
                     01440-ACC-GJK, Hansen
                     Beverage Company v. Honey
                     2000, Inc. et al.
                     [MEC065970-MEC065993]
           1708      February 17, 2011 Final
                     Consent Judgment, 6:10-cv-
                     01440-ACC-GJK, Hansen
                     Beverage Company v. Honey
                     2000, Inc. et al.
                     [MEC065994-MEC065998]
           1709      March 2, 2011 Letter from
                     Richard E. Mitchell to Ievoun
                     Safar re Cease and Desist
                     Demand Letter [MEC065999-
                     MEC066006]



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                                                           ISN’S
           Ex. No.   Description
                                                        Objections

           1710      March 3, 2011 Complaint for
                     Damages and Injunctive
                     Relief, 6:11-cv-00329-ACC-
                     DAB, Hansen Beverage
                     Company v. Consolidated
                     Distributors, Inc. et al.
                     [MEC065911-MEC065969]
           1711      August 18, 2014 Final
                     Consent Judgment and
                     Permanent Injunction, 6:11-
                     cv-00329-ACC-DAB, Hansen
                     Beverage Company v.
                     Consolidated Distributors, Inc.
                     et al. [MEC065900-
                     MEC065910]
           1712      12097 Monster Army AD
                     Mini Moto [MEC012322]
           1713      April 10, 2017 Email from         Lacks
                     Emily Larouche to Product         Foundation;
                     Management re Vendor              Hearsay
                     Question [ISNE00055384-
                     ISNE0055385]
           1714      IBISWorld Industry Report         Lacks
                     81111CA Auto Mechanics in         Foundation;
                     Canada [ISNE00055388-             Hearsay
                     ISNE00055419]
           1715      Photos from ISN
                     tradeshow[ISN0027119]
           1716      Photos of ISN Monster
                     products at ISN tradeshow
                     [ISN0027185]
           1717      Photos of ISN Monster Water
                     Bottles [ISN0027064]
           1718      Photos of ISN Monster
                     products at ISN
                     tradeshow[ISN0027075]
           1719      February 24, 2016 Email from      Lacks
                     Shelly Stoneman to Andy           Foundation;
                     Dunham re Monster Vo-Tech         Relevance
                     Program? [ISNE00067028]




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                                                         ISN’S
           Ex. No.   Description
                                                       Objections

           1720      March 16, 2016 Email from       Lacks
                     Bruce Weber to Don Barry re     Foundation;
                     NEW! AirCat Limited Edition     Relevance
                     Killer Torque 1/2" Impact
                     from Integrated Supply
                     Network LLC
                     [ISNE00022910-
                     ISNE00022913]
           1721      August 3, 2017 Email from
                     Don Barry to Bob Geisinger re
                     5-hour Energy Holiday
                     Shipping Schedule
                     [ISNE00158325-
                     ISNE00158328]
           1722      August 3, 2011 Email from
                     Pilkenton to Bob Hall re
                     Monster Logo
                     [ISNE00075490-
                     ISNE00075492]
           1734      Memory card containing video    Lacks
                     footage at February 26, 2018    Foundation;
                     deposition of William Wilke     Object to this
                                                     being
                                                     introduced as
                                                     an exhibit when
                                                     it should at
                                                     most be utilized
                                                     as
                                                     demonstrative
           1735      May 29, 2009 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Factory Effex, Inc.
                     [MEC022231-MEC022251]
           1736      August 17, 2010 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Fox Head, Inc.
                     [MEC022252-MEC022270]
           1737      January 1, 2011 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and HJC America, Inc.
                     [MEC022271-MEC022287]




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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1738      June 30, 2007 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Slednecks, Inc.
                     [MEC022288-MEC022296]
           1739      April 1, 2008 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Slednecks, Inc.
                     [MEC022297-MEC022307]
           1740      October 15, 2010 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Slednecks, Inc.
                     [MEC022308-MEC022326]
           1741      January 1, 2011 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Speez Racing LLC
                     [MEC022327-MEC022328]
           1742      November 2011 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Suomy S.p.A.
                     [MEC022339-MEC022362]
           1744      April 1, 2013 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and AlpineStars S.p.a.
                     [MEC022427-MEC022453]
           1745      March 27, 2013 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and HJC America, Inc.
                     [MEC023542-MEC023616]
           1746      January 1, 2012 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Troy Lee Designs, Inc.
                     [MEC023667-MEC023700]
           1747      January 1, 2011 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Bicycle Kid, Inc.
                     [MEC025955-MEC025981]



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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           1748      August 1, 2010 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Black Box Distribution
                     LLC [MEC025982-
                     MEC025995]
           1749      January 12, 2012 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Famous Stars & Straps,
                     Inc. [MEC025996-
                     MEC026020]
           1750      January 6, 2010 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and Grenade, Inc.
                     [MEC026021-MEC026047]
           1751      April 12, 2010 Trademark
                     License Agreement between
                     Hansen Beverage Company
                     and INA International Ltd.
                     [MEC026048-MEC026071]
           1756      Physical- Monster Mobile 62
                     SMD LED Rechargeable
                     Hand Held Work Light
                     (MST1062)
           1757      Physical- Monster Mobile
                     Waterproof 66 LED
                     Rechargeable Work Light
                     (MST1066)
           1758      Physical- Monster Mobile
                     Wire Cutters (MST33-200)
           1759      Physical- Monster Mobile
                     25oz Stainless Steel Insulated
                     Water Bottle
                     (MSTWB25GRAY)
           1760      Physical- Monster Mobile 3
                     Piece 1/2" Drive Spline
                     Protective Wheel Socket Set
                     (MST903)
           1761      Physical- Monster Mobile 47
                     Pc. 1/4" Dr. Bit Set with Mini
                     Driver (MST9248)
           1762      Physical- Monster Mobile
                     Grip High Visibility Green
                     Nitrite Gloves
                     (MSTMG570GXL)

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                                                       ISN’S
           Ex. No.   Description
                                                    Objections

           1763      File history for ISN's U.S.
                     Application No. 85/806622
           1764      Website printout of         Lacks
                     www.garagejournal.com/foru Foundation;
                     m [MEC024423-MEC024426] Hearsay
           1766      Website printouts of Kaucky   Lacks
                     tool company Facebook page    Foundation;
                     [MEC024431-MEC024435]         Hearsay
           1767      December 2, 2016 Article,     Lacks
                     "Monster Energy Just Landed   Foundation;
                     a Huge Sponsorship for        Hearsay
                     NASCAR," Fortune.com -
                     Color [MEC024436-
                     MEC024437]
           1768      U.S. Trademark Registration
                     No. 4,721,433, File History
           1769      U.S. Trademark Registration
                     No. 3,044,315, File History
           1770      U.S. Trademark Registration
                     No. 3,057,061, File History
           1771      U.S. Trademark Registration
                     No. 3,908,601, File History
           1772      U.S. Trademark Registration
                     No. 3,914,828, File History
           1773      U.S. Trademark Registration
                     No. 3,923,683, File History
           1774      U.S. Trademark Registration
                     No. 3,908,600, File History
           1775      U.S. Trademark Registration
                     No. 4,332,062, File History
           1776      U.S. Trademark Registration
                     No. 4,660,598, File History
           1777      U.S. Trademark Registration
                     No. 3,740,050, File History
           1778      U.S. Trademark Registration
                     No. 3,044,314, File History
           1779      U.S. Trademark Registration
                     No. 3,134,842, File History
           1780      U.S. Trademark Registration
                     No. 4,036,680, File History
           1781      U.S. Trademark Registration
                     No. 4,036,681, File History


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           1782      U.S. Trademark Registration
                     No. 4,111,964, File History
           1783      U.S. Trademark Registration
                     No. 4,129,288, File History
           1784      U.S. Trademark Registration
                     No. 4,376,796, File History
           1785      U.S. Trademark Registration
                     No. 4,451,535, File History
           1786      U.S. Trademark Registration
                     No. 4,716,750, File History
           1787      U.S. Trademark Registration
                     No. 4,634,053, File History
           1788      U.S. Trademark Registration
                     No. 4,604,556, File History
           1789      U.S. Trademark Registration
                     No. 3,959,457, File History
           1790      U.S. Trademark Registration
                     No. 5,018,111, File History
           1791      U.S. Trademark Registration
                     No. 4,234,456, File History
           1792      U.S. Trademark Registration
                     No. 5,041,267, File History
           1793      U.S. Trademark Registration
                     No. 4,989,137, File History
           1794      U.S. Trademark Registration
                     No. 5,013,706, File History
           1795      U.S. Trademark Registration
                     No. 4,532,292, File History
           1796      U.S. Trademark Registration
                     No. 4,534,414, File History
           1797      U.S. Trademark Registration
                     No. 4,860,491, File History
           1798      U.S. Trademark Registration
                     No. 4,856,373, File History
           1799      U.S. Trademark Registration
                     No. 4,879,793, File History
           1800      U.S. Trademark Registration
                     No. 3,924,797, File History
           1801      U.S. Trademark Registration
                     No. 3,852,118, File History
           1802      U.S. Trademark Registration
                     No. 3,134,841, File History


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                                                       ISN’S
           Ex. No.   Description
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           1803      U.S. Trademark Registration
                     No. 4,865,702, File History
           1804      U.S. Trademark Registration
                     No. 4,975,822, File History
           1805      U.S. Trademark Registration
                     No. 2,769,364, File History
           1806      U.S. Trademark Registration
                     No. 4,482,659, File History
           1807      U.S. Trademark Registration
                     No. 4,482,660, File History
           1808      U.S. Trademark Registration
                     No. 4,542,107, File History
           1809      U.S. Trademark Registration
                     No. 4,546,402, File History
           1810      U.S. Trademark Registration
                     No. 4,336,329, File History
           1811      U.S. Trademark Registration
                     No. 4,394,044, File History
           1812      U.S. Trademark Registration
                     No. 4,371,544, File History
           1813      U.S. Trademark Registration
                     No. 4,292,502, File History
           1814      U.S. Trademark Registration
                     No. 4,953,200, File History
           1815-1    Physical - Monster Energy
                     Helmet
           1815-2    Physical - Monster Energy T-
                     Shirt (black)
           1815-3    Physical - Monster Energy
                     Sweatshirt (black)
           1815-4    Physical - Monster Energy
                     Gloves
           1815-5    Physical - Monster Energy
                     Plastic Water Bottle
           1815-6    Physical - Monster Energy
                     Swell Water Bottle
           1815-7    Physical - Monster Army
                     backpack
           1815-8    Physical - Monster Energy Hat
                     (black)
           1815-9    Physical - Monster Energy
                     stickers/decals


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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           1815-10   Physical - Monster Import Can
           1815-11   Physical - UberMonster Can
           1815-12   Physical - Java Monster Kona
                     Blend Can
           1815-13   Physical - Java Monster Irish
                     Blend Can
           1815-14   Physical - Monster Maxx
                     “super dry” Can
           1815-15   Physical - Can, Monster
                     Energy Drink (Black)
           1816      2004 Agreement with Odwalla
                     [MEC060434-MEC060449]
           1817      July 7, 2005 Amendment and
                     Dismissal in Opposition No.
                     91158107
           1818      Patent & Trademark Office’s
                     TSDR printout for U.S. Serial
                     No. 86/020321 for the mark
                     MONSTER MOTO with
                     Notice of Opposition
                     [ISN008283-ISN008286]
           1819      Patent & Trademark Office’s
                     TSDR printout for U.S. Serial
                     No. 86/394,129 for the mark
                     MONSTER MOTO with
                     Notice of Opposition
                     [ISN008978-ISN008982]
           1820      Patent & Trademark Office’s
                     TSDR printout for U.S. Serial
                     No. 86/394,130 for the mark
                     MONSTER MOTO with
                     Notice of Opposition
                     [ISN008983-ISN008987]
           1821      Physical - Monster Mobile
                     Tire Pressure Monitoring
                     System (K360-22311)
           1822      Physical - Monster Mobile 4"
                     Tongue and Groove Mini Plier
                     (MST97625)
           1823      Brown & Bigelow Invoices to
                     and payment records from ISN
                     with handwritten notes
                     [ISN0039289-ISN39332]


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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           1824      U.S. Trademark Application
                     Serial Number 87/129,469
                     [MEC066184-MEC066214]
           1825      U.S. Trademark Application
                     Serial Number 87/129,473
                     [MEC0661215-MEC066246]
           1826      June 2018 Trademark
                     Agreement between Monster
                     Energy Company and Monster
                     Moto, LLC [MEC066247-
                     MEC066256]
           1827      Court records re Michael Scott Objections as
                     Pilkenton                      provided     in
                                                    ISN’s Motion
                                                    in Limine No. 4
                                                    to     Exclude
                                                    Evidence     of
                                                    Prior
                                                    Convictions
                                                    (Dkt. No. 247)
           1828      Google Analytics for           Lacks
                     www.monsterenergy.com          Foundation;
                     from November 1, 2009 to       Hearsay
                     November 30, 2010
                     [MEC005204-09,
                     MEC005241-306,
                     MEC005313-24 – in date
                     order]
           1829      Screenshot of Monster Energy   Lacks
                     Facebook page from 2011        Foundation;
                     [MEC005330-MEC005331]          Hearsay
           1830      Physical - Can, Rockstar       Relevance
                     Sugar Free Drink (White)
           1831      Physical - Can, NOS High       Relevance;
                     Performance Energy Drink       Fed. R. Evid.
                     (Blue)                         403
           1832      California Trademark           Relevance;
                     Registration No. 108124        Lacks
                     [MEC001901-1902]               Foundation;
                                                    Fed. R. Evid.
                                                    403




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                                                        ISN’S
           Ex. No.   Description
                                                     Objections

           1833      Certificate of Renewal for     Relevance;
                     California Trademark           Lacks
                     Registration No. 108124        Foundation;
                     [MEC0066257]                   Fed. R. Evid.
                                                    403
           1834      Physical – Snap-on Monster
                     Lithium tool with packaging
           1835      Physical – Monster Energy
                     Nascar tumbler with lid
           1836      June 11, 2018 Post from
                     Monster Mobile website,
                     “Meet Willie B., Monster
                     Tools’ New Brand
                     Ambassador [MEC066258-
                     MEC066259]
           1837      Summer 2018 Monster Mobile
                     Tools & Equipment Catalog
                     [MEC066260-MEC066319]
           1838      Screen shot of Monster Tools Lacks
                     Facebook Post [MEC066320] Foundation
           1839      Screen shot of Monster Tools   Lacks
                     Facebook page [MEC066321-      Foundation
                     MEC066328]
           1840      Screen shot of Monster Tools   Lacks
                     Facebook Post [MEC066329]      Foundation
           1841      Screen shot of Monster Tools   Lacks
                     Facebook Post [MEC066330-      Foundation
                     MEC066334]
           1842      Screen shot of Monster Tools   Lacks
                     Instagram page [MEC066335-     Foundation
                     MEC066336
           1843      Screen shot of Monster Tools   Lacks
                     Instagram post [MEC066337]     Foundation
           1844      Pro Circuit – Team Monster     Lacks
                     T-Shirt                        Foundation;
                     [MEC016118]                    Hearsay

           1845      Mechanix Wear Vent Gloves      Lacks
                     Medium                         Foundation;
                     [MEC024874]                    Hearsay




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                                                         ISN’S
           Ex. No.   Description
                                                      Objections

           1846      Pro Circui Mechanix Wear        Lacks
                     Gloves                          Foundation;
                     [MEC024981]                     Hearsay
           1847      “Factory Effex Monster          Lacks
                     Energy Shroud/Airbox            Foundation;
                     Graphic Kit”                    Hearsay
                     [MEC025091]
           1848      “Monster Energy Wheels &        Lacks
                     Rims”                           Foundation;
                     [MEC040019–24]                  Hearsay
           1849      Wheels                          Lacks
                     [MEC051775]                     Foundation;
                                                     Hearsay
           1850      “Bell Helmets MX-9 MIPS         Lacks
                     Monster Energy Pro Circuit      Foundation;
                     Replica Helmet”                 Hearsay
                     [MEC025036]
           2001      U.S. Trademark Reg. No.
                     4,951,671 [ISN0032362-
                     ISN0032366]
           2002      Certified copy of ISN’s file
                     history for MONSTER
                     MOBILE logo 4,951,671
                     [ISN0032367-ISN0032446]
           2003      Corsearch Reports
                     [GR_00001-GR_00805 AND
                     GR_00806-GR_01180]
           2004      License Agreement between
                     MEC and Hobby Lobby
                     Products International Europe
                     Lt [MEC039636-
                     MEC039659]
           2006      Excerpt from Beverage World
                     Magazine [MEC006004-
                     MEC006005]
           2007      Certified Monster Mile TM
                     registration 1,705,113
                     [ISN0040842-ISN0040845]
           2008      Certified Monster Mile TM
                     registration 2,105,583
                     [ISN0040854-ISN0040857]




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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           2009      Certified TM registration for
                     GREEN MONSTER
                     3,397,948 [ISN0040834-
                     ISN0040837]
           2010      Certified TM registration for
                     GREEN MONSTER
                     3,607,649 [ISN0040825-
                     ISN0040828]
           2011      Certified TM registration for
                     C MONSTER 1,970,362
                     [ISN0040850-ISN0040853]
           2012      Certified Copy of Trademark
                     Registration 1,340,229
                     MONSTER CABLE
                     [ISN0074474-ISN0074477]
           2013      Certified Copy of Trademark
                     Registration 1,384,076
                     MONSTER CABLE
                     [ISN0040838-ISN0040841]
           2014      Certified Copy of Trademark
                     Registration 1,537,306
                     MONSTER MUSIC
                     [ISN0074478-ISN0074481]
           2015      Certified Copy of Trademark
                     Registration 1,665,277
                     MONSTER MUSIC
                     [ISN0074482-ISN0074486]
           2016      Certified Copy of Trademark
                     Registration 1,742,345
                     GREEN MONSTER
                     [ISN0074487-ISN0074490]
           2017      Certified Copy of Trademark
                     Registration 2,116,431
                     MONSTER JAM
                     [ISN0074491-ISN0074496]
           2018      Certified Copy of Trademark
                     Registration 2,347,985
                     MONSTER (TMP Worldwide
                     Inc.) [ISN0074497-
                     ISN0074500]
           2019      Certified Copy of Trademark
                     Registration 2,454,334
                     MONSTER (Ducati Motor
                     S.P.A.) [ISN0074501-
                     ISN0074504]



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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           2020      Certified Copy of Trademark
                     Registration 2,575,745
                     MONSTER (Monster Cable
                     Products, Inc.) [ISN0074505-
                     ISN0074509]
           2021      2004 Agreement with Odwalla
                     [MEC0060434-MEC0060449]
           2022      Tech’s Edge Catalog from
                     May-June 2017 [ISN0032132-
                     ISN0032295]
           2023      Images of ISN products
                     [ISN0034697-ISN0034705;
                     ISN0038179-ISN0038210]
           2024      Tech’s Edge Price Lists
                     [ISN0026766-ISN0026805,
                     ISN0026806-ISN0026845,
                     ISN0026846-ISN0026885,
                     ISN0026886-ISN0026925,
                     ISN0026926-ISN0026965,
                     ISN0026966-ISN0267005,
                     ISN0027006-ISN0026045]
           2025      ISN sales data [ISN0035488]
           2026      MEC Response to Office
                     Action Dated July 25, 2005
                     78/658,118 [ISN0074518-
                     ISN0074603]
           2027      TTAB Summary Printout of
                     MEC Proceedings
                     [ISN0074604-ISN0074686]
           2028      Picture of Snap-on mobile tool
                     truck [ISN0074473]
           2029      Pictures Inside a Mobile Tool
                     Truck [ISN0074510-
                     7ISN004517]
           2030      Adobe Illustrator Pantone
                     Colors [ISN0068568]
           2031      Tool Web Cover October
                     2005 [ISN0068219]
           2032      Munster’s Video Clip
                     [ISN0072585]
           2033      Excerpt from “beverage aisle,”
                     advertisement re MONSTER
                     ENERGY “Stand Out in a
                     Crowd!” [MEC003161-
                     MEC003162]

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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           2034      Excerpt from “beverage aisle,”
                     advertisement re MONSTER
                     ENERGY “DOUBLE UP!”
                     [MEC003167-MEC03168]
           2035      “The Monster is Coming”
                     press clipping [MEC003330]
           2036      December 2007 Beverage
                     Industry excerpts “Creating a
                     Monster” [MEC003604-
                     MEC003611]
           2037      Photo of MEC products
                     [MEC003685]
           2038      Photo of MEC products
                     [MEC003686]
           2039      MEC agreement with Feld
                     Motor Sports, Inc. re
                     MONSTER JAM
                     [MEC60374-MEC60394]
           2041      Racing event photo
                     [MEC010035]
           2042      Hansen Beverage Co.’s
                     Response to Office Action in
                     MONSTER application
                     76/361097 [ISN0067936-
                     ISN0067957]
           2043      Photo of Ducati MONSTER
                     motorcycles [ISN0071090-
                     ISN0071091]
           2044      Photo of Ducati MONSTER t-
                     shirts [ISN0071092-
                     ISN0071093]
           2045      Photo of Ducati MONSTER
                     [ISN0072051]
           2046      Photo of Ducati MONSTER
                     [ISN0072052]
           2047      Screenshots from
                     Monster.com re MEC job
                     postings [ISN0072059-
                     ISN0072060]
           2048      Screenshots from
                     Amazon.com re Monster Lug
                     [ISN0072065-ISN0072066]
           2049      Screenshot from Amazon.com
                     re MONSTER HOOK
                     [ISN0072067]

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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           2050      Various screenshots from
                     matcotools.com re “monster”
                     [ISN0072073-ISN0072076]
           2051      Screenshots from
                     mactools.com re “monster”
                     [ISN0072077-ISN0072078]
           2052      Screenshots from
                     store.snapon.com re “monster”
                     [ISN0072079-ISN0072080]
           2053      Home Depot website
                     screenshots re “monster”
                     [ISN0072085-ISN0072091]
           2054      Screenshot from Home Depot
                     website re “Monster-Grip
                     Ratchets” [ISN0072094]
           2055      Walmart.com screenshots re
                     “monster” [ISN0072098-
                     ISN0072100]
           2056      Photo of MONSTER HOOK
                     [ISN0072146]
           2056-A    Physical - of MONSTER
                     HOOK
           2057      “Go Away, Big Green
                     Monster!” book photos
                     [ISN0072147-ISN0072150]
           2057-A    Physical - of “Go Away, Big
                     Green Monster!” book
           2058      Monster Lug photos
                     [ISN0072140-ISN0072141]
           2058-A    Physical - Monster Lug
           2059      Komelon Monster MagGrip
                     photos [ISN0072136-
                     ISN0072138]
           2059-A    Physical Exhibt of Komelon
                     Monster MagGrip
           2060      Dover International Speedway
                     book photos [ISN0072128-
                     ISN0072132]
           2060-A    Physical Exhibit Dover
                     International Speedway Book
           2061      Disney Pixar “M IS FOR
                     MONSTER” book photos
                     [ISN0072124-ISN0072127]


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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           2061-A    Physical Exhibit – Disney
                     Pixar “M IS FOR
                     MONSTER”
           2062      Matcotools.com screenshots
                     re. “monster” [ISN0072162
                     ISN0072168]
           2063      Printout from
                     store.snapon.com re gloves
                     [ISN0072169-ISN0072171]
           2064      Printout from
                     store.snapon.com re “Original
                     Mechanics Gloves (Green)
                     (Large)” [ISN0072172]
           2065      Screenshots from USPTO
                     search results for “monster”
                     [ISN0072177-ISN0072242]
           2066      Screenshot from
                     homedepot.com and
                     screenshot from amazon.com
                     re “beast” [ISN0072151]
           2067      Screenshots from
                     www.amazon.com re “Feed
                     The Beast: Cooking For Your
                     Alpha Male” and “Feed the
                     Startup Beast” [ISN0072152]
           2068      Screenshots from
                     Amazon.com re “beast”
                     [ISN0072153]
           2069      Screenshots from amazon.com
                     re “unleash the beast”
                     [ISN0072270-ISN0072288]
           2070      Screenshots from amazon.com
                     re Beast stickers
                     [ISN0072155]
           2071      Screenshots from amazon.com
                     re “beast wheel” and vacuum
                     product [ISN0072156]
           2072      Screenshots from amazon.com
                     re “Unleash the Beast” tshirts
                     [ISN0072301-ISN0072303]
           2073      Printout from
                     www.amazon.com re “feed the
                     beast shirt” [ISN0072313-
                     ISN0072317]



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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           2074      Screenshots of products on
                     Walmart.com re “monster”
                     [ISN0072322-ISN0072342]
           2075      Amazon.com invoice re
                     “monster” [ISN0072318-
                     ISN0072321]
           2076      Ducati MONSTER poster
                     [ISN0072560-ISN0072562]
           2076-A    Physical – Ducati MONSTER
                     poster
           2077      Amazon.com invoice for best
                     t-shirt [ISN0072586]
           2078      Amazon.com invoice re
                     “beast” [ISN0072587-
                     ISN0072588]
           2079      Amazon.com invoice for
                     unleash the beast bumper
                     sticker [ISN0072589]
           2080      Amazon.com invoice for
                     “Feed the Beast: Cooking For
                     The Alpha Male” cooking
                     book [ISN0072590]
           2081      Screenshot from
                     doverspeedway.com re
                     MONSTER MILE
                     [ISN000060]
           2082      Screenshots of
                     twitter.com/MonsterMile
                     [ISN000064-ISN000070]
           2083      Monster Mobile products on
                     the ISN website [ISN000126-
                     ISN000188]
           2084      Various screenshots of
                     monsterenergy.com; various
                     screenshots from
                     twitter.com/MonsterJam
                     [ISN000211-ISN000221]
           2085      Printout from
                     www.monsterproducts.com
                     [ISN000399-ISN000401]
           2086      Professional Distributor
                     February 2017 magazine
                     [ISN010114-ISN010140]




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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           2087      Professional Distributor June
                     2016 magazine [ISN010141-
                     ISN010168]
           2089      MONSTER MOBILE summer
                     2014 catalog [ISN010200-
                     ISN010223]
           2091      MONSTER MOBILE summer
                     2016 catalog [ISN010360-
                     ISN010411]
           2092      Website printout from
                     boston.redsox.mlb.com re
                     “Green Monster tickets”
                     [ISN010940-ISN010941]
           2093      Website printout from
                     www.monsterjamsuperstore.c
                     om re Monster Energy Shirt
                     [ISN011325-ISN011327]
           2094      Website printout from
                     www.harley-davidson.com
                     [ISN011363-ISN0011364]
           2095      Website printout from
                     houseofharley.com
                     [ISN011365-ISN0011367]
           2096      Photo of cans Heineken
                     [ISN011271]
           2097      Photo of box and cans of Bud
                     Light Lime [ISN011269]
           2098      Website printout from
                     dictionary.com re the term
                     “beast” [ISN0068582-
                     ISN0068589]
           2099      Deposition Transcript of
                     Rodney Sacks Excerpts –
                     9/20/12 MEC v. Consolidated
                     Distributors, Inc.
           2100      ISN Monster Deals
                     Promotions [ISNE00028384-
                     ISNE00028388 and
                     ISNE00127460-
                     ISNE00127463]
           2101      Office Action 76/361097
                     [ISN0031286-ISN0031288]
           2102      File History Wrapper
                     76/361097 [ISN0031215-
                     ISN0031427]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           2104      Receipt from Monster Jam
                     Super Store [ISN0031807]
           2105      Receipt from Nascar Shop
                     [ISN0031818-ISN0031821]
           2106      Screen captures of
                     www.matcotools.com
                     [ISN0034706-ISN0034747]
           2107      Screen captures of
                     www.mactools.com
                     [ISN0034748-ISN0034823]
           2108      Screen captures of
                     store.snapon.com
                     [ISN0034824-ISN0034866]
           2109      Screen captures of
                     cornwelltools.com
                     [ISN0034870-ISN0034885]
           2115      Website printout of
                     www.monsterenergy.com re
                     Damon Bradshaw
                     [MEC021857-MEC012858]
           2116      Monster Energy 2010
                     brochure [MEC022648-
                     MEC022655]
           2117      Frankenstein poster
                     [ISN010611]
           2118      Website printout from
                     IMDb.com re Frankenstein
                     [ISN0040876-ISN0040880]
           2119      Website printout from
                     IMDb.com re Godzilla
                     [ISN0040899-ISN040903]
           2123      ISN Financials 2009
                     [ISN0040306-ISN0040431]
           2124      ISN Financials 2010
                     [ISN0040196-ISN0040305]
           2125       ISN Financials Jan. 2011
                     [ISN0012749-ISN0012844]
           2126      ISN Financials Feb. 2011
                     [ISN0012644-ISN0012748]
           2127      ISN Financials March 2011
                     [ISN0012970-ISN0013076]
           2128      ISN Financials Apr. 2011
                     [ISN0012425-ISN0012532]



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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           2129      ISN Financials May 2011
                     [ISN0013077-ISN0013185]
           2130      ISN Financials June 2011
                     [ISN0012861-ISN0012969]
           2131      ISN Financials July 2011
                     [ISN0012845-ISN0012860]
           2132      ISN Financials Aug. 2011
                     [ISN0012533-ISN0012631]
           2133      ISN Financials Sept. 2011
                     [ISN0013415-ISN0013529]
           2134      ISN Financials Oct. 2011
                     [ISN0013300-ISN0013414]
           2135      ISN Financials Nov. 2011
                     [ISN0013186-ISN0013299]
           2136      ISN Financials Dec. 2011
                     [ISN0012632-ISN0012643]
           2137       ISN Financials Jan. 2012
                     [ISN0013951-ISN0014042]
           2138      ISN Financials Feb. 2012
                     [ISN0013856-ISN0013950]
           2139      ISN Financials March 2012 [
                     ISN0014260-ISN0014361]
           2140      ISN Financials Apr. 2012
                     [ISN0013530-ISN0013634]
           2141      ISN Financials May 2012
                     [ISN0014362-ISN0014467]
           2142      ISN Financials June 2012
                     [ISN0014152-ISN0014259]
           2143      ISN Financials July 2012
                     [ISN0014043-ISN0014151]
           2144      ISN Financials Aug. 2012
                     [ISN0013635-ISN0013744]
           2145      ISN Financials Sept. 2012
                     [ISN0014689-ISN0014798]
           2146      ISN Financials Oct. 2012
                     [ISN0014579-ISN0014688]
           2147      ISN Financials Nov. 2012
                     [ISN0014468-ISN0014578]
           2148      ISN Financials Dec. 2012
                     [ISN0013745-ISN0013855]
           2149       ISN Financials Jan. 2013
                     [ISN0015404-ISN0015497]


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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           2150      ISN Financials Feb. 2013
                     [ISN0015307-ISN0015403]
           2151      ISN Financials March 2013
                     [ISN0015719-ISN0015821]
           2152      ISN Financials Apr. 2013
                     [ISN0014958-ISN0015063]
           2153      ISN Financials May 2013
                     [ISN0015822-ISN0015927]
           2154      ISN Financials June 2013
                     [ISN0015609-ISN0015718]
           2155      ISN Financials July 2013
                     [ISN0015498-ISN0015608]
           2156      ISN Financials Aug. 2013
                     [ISN0015064-ISN0015174]
           2157      ISN Financials Sept. 2013
                     [ISN0016158-ISN0016269]
           2158      ISN Financials Oct. 2013
                     [ISN0016043-ISN0016157]
           2159      ISN Financials Nov. 2013
                     [ISN0015928-ISN0016042]
           2160      ISN Financials Dec. 2013
                     [ISN0015175-ISN0015306]
           2161      The Intrinsic Value of
                     Monster Beverage [(Vol. 5
                     Tab 14 of Wagner Report)]
           2162      MEC Form 10-K from Year
                     End Dec. 31, 2017 [(Vol. 5
                     Tab 15 of Wagner Report)]
           2163      Monster Automotive tools and
                     Equipment Blog
                     (http://monsterautotools.blogs
                     pot.com) [(Vol. 5 Tab 16 of
                     Wagner Report)]
           2164      Financials [ISN0068591]
           2165      Financials [ISN0068592]
           2166      Financials [ISN0068593]
           2167      Financials [ISN0068594]
           2168      Financials [ISN0068595]
           2169      Financials [ISN0068596]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           2170      Financials [ISN0068597]
           2171      Financials [ISN0068598]
           2172      Financials [ISN0068599]
           2173      Financials [ISN0068600]
           2174      Financials [ISN0068601]
           2175      Financials [ISN0068602]
           2176      Financials [ISN0068603]
           2177      Financials [ISN0068604]
           2178      Financials [ISN0068605]
           2179      Financials [ISN0068606]
           2180      Financials [ISN0068607]
           2181      Financials [ISN0068608]
           2182      Financials [ISN0068609]
           2183      Financials [ISN0068610]
           2184      Financials [ISN0068611]
           2185      Financials [ISN0068612]
           2186      Financials [ISN0068613]
           2187      Financials [ISN0068614]
           2188      Financials [ISN0068615]
           2189      Financials [ISN0068616]
           2190      Financials [ISN0068617]
           2191      Financials [ISN0068618]
           2192      Financials [ISN0068619]
           2193      Financials [ISN0068620]
           2194      Financials [ISN0068621]


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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           2195      Financials [ISN0068622]
           2196      Financials [ISN0068623]
           2197      Financials [ISN0068624]
           2198      Financials [ISN0068625]
           2199      Financials [ISN0068626]
           2200      Financials [ISN0068627]
           2201      Financials [ISN0068628]
           2202      Financials [ISN0068629]
           2203      Financials [ISN0068630]
           2204      Financials [ISN0068631]
           2205      Financials [ISN0068632]
           2206      Financials [ISN0068633]
           2207      Financials [ISN0068634]
           2208      Financials [ISN0068635]
           2209      Financials [ISN0068636]
           2210      Financials [ISN0068637]
           2211      Financials [ISN0068638]
           2212      MonsterMoto.com Website
                     printouts [ISN000417-
                     ISN000421]
           2213      Tech’s Edge Publication
                     [ISN003673-ISN003712]
           2214      Tech’s Edge Publication
                     [ISN003477-ISN003640]
           2215      New Product Supplement
                     [ISN003181-ISN003196]
           2216      New Product Supplement
                     [ISN003133-ISN003148]
           2217      Tech’s Edge Publication
                     [ISN002805-ISN002968]


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                                                        ISN’S
           Ex. No.   Description
                                                      Objections

           2218      New Product Supplement
                     [ISN002789-ISN002804]
           2219      New Product Supplement
                     [ISN002773-ISN002788]
           2221      Dover International Speedway
                     Monster Mile Guest Guide
                     [ISN000001-ISN000024]
           2222      Email from Mr. Kautz to Scott
                     Pilkenton [GR_01183]
           2223      Mr. Kautz June 14, 2012
                     Letter [GR_01186-GR_01188]
           2224      Email from Mr. Kautz to Scott
                     Pilkenton [GR_01197-
                     GR_01213]
           2225      Email from Scott Pilkenton to
                     Mr. Kautz [GR_01214]
           2226      Email from Mr. Kautz to Scott
                     Pilkenton [GR_01218]
           2227      Printout from
                     dictionary.cambdridge.org re
                     definition of “energy”
                     [ISN011120-ISN011125]
           2228      ISN demonstrative
           2229      Physical - Beast Brush
           2230      BLUE MONSTER PTFE
                     Thread Tape [ISN0072142-
                     ISN0072144]
           2230-A    Physical - BLUE MONSTER
                     PTFE Thread Tape
           2231      Physical - BEAST Sticker
           2232      Physical - “Feed the Beast
                     Cooking for Your Alpha
                     Male” Book
           2233      MONSTER JAM Official
                     Guidebook [ISN0072133-
                     ISN0072135]
           2233-A    Physical - MONSTER JAM
                     Official Guidebook
           2234      Physical - “Feed the Startup
                     Beast” Book



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                                                      ISN’S
           Ex. No.   Description
                                                    Objections

           2235      MONSTER JAM Lenticular
                     Valentines [ISN0071024-
                     ISN0071025]
           2235-A    Physical - MONSTER JAM
                     Lenticular Valentines
           2236      Physical - UNLEASH THE
                     BEAST Sticker
           2237      Physical - Beast Heavy Duty
                     Tie Out
           2238      Monster Energy Driver Shirt
                     [ISN0031799-ISN0031800]
           2238-A    Physical - MONSTER JAM
                     Monster Energy Driver Shirt
           2239      Monster Energy Pennant
                     [ISN0031801-ISN0031802]
           2239-A    Physical - Monster Energy
                     Pennant
           2240      Monster Energy Flag
                     [ISN0031794-ISN0031796]
           2240-A    Physical - Monster Energy
                     Flag
           2241      Physical - UNLEASH THE
                     BEAST T-shirt
           2242      Physical - ANABOLIC
                     MONSTER FEED THE
                     BEAST T-shirt
           2243      NASCAR MONSTER MILE
                     DOVER INTERNATIONAL
                     T-shirt [ISN0031809-
                     ISN0031810]
           2243-A    Physical - NASCAR
                     MONSTER MILE DOVER
                     INTERNATIONAL T-shirt
           2244      NASCAR MONSTER MILE
                     T-shirt [ISN0031811-
                     ISN0031814]
           2244-A    Physical - NASCAR
                     MONSTER MILE T-shirt
           2245      NASCAR MONSTER
                     ENERGY NASCAR CUP
                     SERIES T-shirt [ISN0031815-
                     ISN0031817]



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                                                       ISN’S
           Ex. No.   Description
                                                     Objections

           2245-A    Physical - NASCAR
                     MONSTER ENERGY
                     NASCAR CUP SERIES T-
                     shirt
           2246      Feld Motor Sports MONSTER
                     JAM Monster Energy Tonal
                     T-shirt [ISN0031803-
                     ISN0031804]
           2246-A    Physical - Feld Motor Sports
                     MONSTER JAM Monster
                     Energy Tonal T-shirt
           2247      SNAP-on Gloves
                     [ISN0072032-ISN0072035]
           2247-A    Physical - SNAP-on Gloves
           2248      Marshall University On the
                     Field Hat [ISN0032308]
           2248-A    Physical - Marshall
                     University On the Field Hat
           2249      Physical - Monster Energy
                     Beverages
           2250      Physical - ISN MONSTER
                     MOBILE Products
           2251      Physical - ROCKSTAR
                     Beverage
           2252      Physical - Mountain Dew
                     Black Label Beverage
           2253      Physical - KICKSTART
                     Beverage
           2254      Physical - Firefly Beverage
           2255      Physical - Heineken Beverage
           2256      Physical - Bud Light Lime
                     Beverage
           2257      Physical - Mountain Dew
                     Beverage
           2258      Physical - 7-Up Beverage
           2259      Physical - Gatorade Beverage
           2260      Physical - Nestle Beverage
           2261      Physical - Pellegrino
                     Beverage


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                                                               ISN’S
           Ex. No.    Description
                                                            Objections

           2262       Physical - Perrier Beverage
           2263       CV of Hal Poret
           2264       CV of James Berger
           2265       CV of Michael Wagner


          Additional, General Objections of Defendant, Integrated Supply Network
            1. Plaintiff, Monster Energy Company (“MEC”), has sought to introduce
               into evidence in the trial of this matter numerous social media pages (i.e.
               Facebook, Twitter, YouTube, etc.) as well as messages purportedly sent
               to ISN and/or MEC via such social media pages. In some instances, the
               social media pages allegedly belong to mobile tool distributors. In many
               instances, the exhibits comprising the screenshots of the social media
               pages and messages sent via such websites include comments purportedly
               made by third parties. There has been no testimony provided by the
               individuals that purportedly made the statements, created the social media
               pages, composed the messages, etc. The statements made and messages
               sent via social media and the social media pages of third parties are
               therefor not relevant and are unsubstantiated hearsay. Accordingly, ISN
               objects to the introduction of these items into the trial of this case at least
               under Fed. R. Evid. 103, 401, 402, 403, 601, 602, 801, 802, and 901.




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